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 5   Attorney for Plaintiff Henrique Lavalle Da Silva Faria

 6
 7                                 UNITED STATES DISTRICT COURT

 8                                NORTHERN DISTRICT OF CALIFORNIA
 9
10   HENRIQUE LAVALLE DA SILVA FARIA,                  CASE NO.: _______________________
11                   Plaintiff,                        EXHIBITS TO COMPLAINT
12          vs.
13
14   THE REGENTS OF THE UNIVERSITY
     OF CALIFORNIA,
15
                     Defendant.
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     Faria v. The Regents, Case No.
     Exhibits To Complaint - 1
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 LL.M. Programs




 b
 One LL.M. Degree – Two Tracks
 Berkeley Law is one of the top 10 law schools in the United States. We provide two paths to the same LL.M. degree: the traditional nine-
 month track and a professional track that spans two consecutive summer terms.bLL.M. candidates inbboth tracksɉtake thebsame courses,
 from thebsame expert faculty, as ourbJ.D. students.

 LL.M. students can earn certiůcates of specialization in one of several subjects:

        Business Law (both tracks)
        Law & Technology (both tracks)
        Public Law & Regulation (professional track only)
        Environmental Law (traditional track only)
        Energy & Clean Technology (traditionalbtrack only)
        International Law (traditionalbtrack only)

 b
 LL.M. Professional Track
 The professional track is designed for lawyers educated outside the U.S. who want an internationally renowned Berkeley Law degree, but
 can’t leave professional commitments for an entire year. Candidates conduct their study over two consecutive summer sessions, and they
 arebtaught by the same facultybas traditional-track students. A rigorous curriculum
 (https://web.archive.org/web/20160529075005/https://www.law.berkeley.edu/academics/llm/professional-llm/courses/)
 includes business law, intellectual property, and core U.S. law courses; our Ůexible start dates enable the program to Ɉt into your
 life.bStudents can earn certiɈcates of specialization in Business Law, Public Law, or Law & Technology (IP). Start dates for the 2015 term are
 May 18 (Q1 start) and June 10 (Q2 start).

 Learn more here (/web/20160529075005/https://www.law.berkeley.edu/academics/llm/professional-llm/).
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 The traditional track, which runs during the school year from August to May, provides students with a range of opportunities, from
 obtaining a basic knowledge of the U.S. legal system to undertaking original research on a particular aspect of law. Designed to integrate
 American and international law students at various levels of study, the traditional track allows candidates to satisfy degree requirements
 by enrolling in courses and seminars from among those oɀered to law students pursuing the J.D. degree.b The 2015-16 traditional track is
 tentatively scheduled to begin on August 17, 2015.

 Learn more here (/web/20160529075005/https://www.law.berkeley.edu/academics/llm/traditional-llm/).

 b

 J.S.D.
 The J.S.D. program is a three-year doctorate level program.b Candidacy forbthe J.S.D.bdegree is competitive andbis open only to those who
 have completed an LL.M. degree and are engaged in or planning careers in academic or other work that emphasizes legal scholarship.
 Each J.S.D. student works closely with a faculty advisor who specializes in a Ɉeld of law related to the student’s research.

 Learn more here (/web/20160529075005/https://www.law.berkeley.edu/academics/doctoral-programs/jsd/).




 WHY CHOOSE BERKELEY LAW?
 A top-tier education. Berkeley Law is ranked among the top law schools in the world, oɀering a superb education in both established
 and emerging Ɉelds of law.

 World-renowned faculty. Our professors are internationally recognized experts in a variety of legal Ɉelds, including business law, IP law
 and social justice.

 Flexibility. Berkeley Law oɀers a professional track LL.M. taking place over the course of two consecutive summers. Designed for lawyers
 who cannot leave their home countries for a year, this program leads to the same degree and utilizes the same faculty as the traditional
 track.
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                                       id=17941)
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 LL.M. Traditional Track (https://web.archive.org/web/20170131065934/https://www.law.berkeley.edu/academics/llm/traditional-llm/)



 LL.M. Traditional Track
 b

 The traditional track of our LL.M. program, which takes place during the standard academic year from August to May, provides students
 with a range of opportunities, from obtaining a basic knowledge of the U.S. legal system to undertaking original research on a particular
 aspect of law.bbDesigned to integrate American and international law students at various levels of study, the traditional track allows
 candidates to satisfy degree requirements by enrolling in courses and seminars from among those oɀered to law students pursuing the
 J.D. degree. Aside from a fewbcore curriculum courses speciɈcally designed for international students, LL.M. candidates may select law
 courses as they see Ɉt, with the exception of a few that are restricted to the J.D. curriculum. In addition to earning the degree, students
 seeking in-depth training in a particular area of law may earn a CertiɈcate of Specialization
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     LLM/)
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     ASKED-QUESTIONS/)

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 Upcoming Berkeley Law LL.M. Events
 LLM: LinkedIn Workshop (https://web.archive.org/web/20170131065934/http://ems.law.berkeley.edu/MasterCalendar/EventDetails.aspx?
 data=hHr80o3M7J4XFLF1RzoW1RPLvIkp9DbIsKS%2FGYc4Ejo%2BcMglNsFsYYorVoEmuz70) (02/27/2017)

 LLM: Bar Tips Panel Workshop (https://web.archive.org/web/20170131065934/http://ems.law.berkeley.edu/MasterCalendar/EventDetails.aspx?
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 Career Development
 Our Services

        HOW TO REACH US

        For general questions, or if you don’t know whom to contact:
        llm@law.berkeley.edu (https://web.archive.org/web/20160801211919/mailto:llm@law.berkeley.edu)
        Tel: 510-642-1476

        OFFICE HOURS

        10 a.m. to 4 p.m.
        Monday through Friday.
        Meetings by appointment only.



 INDIVIDUAL COUNSELING
 ADP staɀs two attorney-counselors dedicated to the professional development needs of LL.M. students. Each counselor has practiced law
 and can oɀer real-world insights into various career paths. You may sign up for individual appointments via bCourses.

 TARGETED CAREER PLANNING
 We can help you explore a variety of legal career options—both traditional and nontraditional—and determine how to pursue them.

 Your career planning will have two elements:

        Exploration — learning about the types of opportunities compatible with your talents, work style, and lifestyle
        Job Searching — Ɉnding and landing speciɈc opportunities




 ADP’s counselors are here to work individually with you on both.

 PROFESSIONAL DEVELOPMENT PROGRAMMING
 ADP sponsors programs for LL.M. students throughout the year on topics including:

        Resume writing
        Interviewing skills
        U.S. business etiquette and networking
        Various legal practice areas
 LL.M. JOB FAIRS Case 4:19-cv-08388-DMR Document 1-1 Filed 12/23/19 Page 14
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 Most LL.M. students are eligible to attend two job fairs speciɈcally designed for LL.M. students:b the International Student Interview f
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 (https://web.archive.org/web/20160801211919/https://law.ucla.edu/careers/employers/attend-a-job-fair-or-event/ucla-llm-interview-
 program/). ADP support for students attending these job fairs includes:

        Resume review, to conform your C.V. into a U.S.-style resume.
        Mock interviews, to help you develop interviewing skills through simulated job interviews conducted and evaluated by practicing
        attorneys.
        Individual appointments, to discuss bidding strategy and your overall plan for attending ISIP.
        Other job opportunities. Many international employers regularly solicit resumes from students to Ɉll their hiring needs each year.



 More about career opportunities and services for:


                                                                 Traditional Track Students

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                                                                 Professional Track Students

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                                                                 J.S.D. Students

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 Our Team




 DEBORAH SCHLOSBERG
 Director, Student Advising

 Deborah Schlosberg has extensive litigation experience both in the private and public interest sector. Most recently, Deborah served as a
 litigation associate at Arnold & Porter LLP and Howard Rice Nemerovski Canady Falk & Rabkin, P.C. in San Francisco. Deborah’s work
 focused on Ɉnancial services and attorney liability litigation at both the state and federal level. Prior to joining Howard Rice, Deborah
 clerked for the Honorable Jeremey Fogel of the United States District Court, Northern District of California.
 Deborah began her legal       Case    4:19-cv-08388-DMR
                                    career at the Education Law Center
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 Los Angeles. She is an active member of the State Bar of California.

At Berkeley Law, Deborah counsels students on professional development and their academic pursuits.




ANYA GROSSMANN
Associate Director, Student Advising and Outreach

Prior to joining Berkeley Law, Anya worked for Ɉve years as an associate attorney at Gibson, Dunn & Crutcher LLP in New York where she
advised international and domestic corporate clients—many of them in the Fortune 500—on issues including insider trading and anti-
corruption defense and investigations, corporate governance and compliance, and environmental and securities litigation.

Anya earned her J.D. from the University of Pennsylvania Law School where she was an executive editor of the University of Pennsylvania
Journal of International Law. She received her B.A. in Geography from the University of California, Los Angeles, where she graduated with
College Honors, cum laude, and was elected to Phi Beta Kappa. Anya is admitted to practice in the State of New York.

Anya provides career and academic advising to LL.M. students, as well as outreach to admitted students and alumni.

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                                                                       Henrique Lavalle Faria <henriquefaria@gmail.com>



  Career Development at Berkeley Law
  Berkeley Law LL.M. Program <llm@law.berkeley.edu>                                                Fri, Jan 13, 2017 at 5:11 PM
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  To: Henrique Faria <henriquefaria@gmail.com>




             Connect with us:

                                               LL.M. Professional Development

             Dear Henrique,

             As you await your admissions decision from Berkeley Law, we know that career progression is
             a priority. In the global legal marketplace, the LL.M. degree can be a critical component of
             career advancement in many countries worldwide. The Master of Laws degree from
             Berkeley Law often leads to opportunities for our LL.M. students at leading law firms around
             the world, as well as advancement in government bodies and institutions.

             Berkeley Law offers a variety of professional development services to LL.M. students, including:

                   Custom-tailored career development programming, including skills-based workshops
                   and networking guidance
                   Private advising appointments, mock interviews, and resume/cover letter review
                   Support at LL.M. recruitment fairs for international jobs (International Student Interview
                   Program hosted in NYC and the UCLA LL.M. Interview Program hosted in Los Angeles)

             A Note about U.S. Employment

             As you may know, the U.S. job market for foreign-trained LL.M. students is highly competitive.
             The number of positions for LL.M. graduates seeking a one year position during the Optional
             Practical Training period are limited. When it comes to seeking long-term employment in the
             U.S. it is important to remember that an LL.M. degree is not a substitute for the three year J.D.
             degree and that bar admission is required for all permanent attorney positions in the United
             States. Legal employers rarely hire LL.M. students for positions here in the U.S. For more
             information, please review our FAQs about jobs at our career page.

             Despite the odds, however, the Advanced Degree Programs Office is committed to
             supporting our students in their career advancement objectives.

             Sincerely,

             Deborah S. Schlosberg, Esq.
             Director of Student Advising



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             Anya Grossmann, Esq.
             Associate Director of Student Advising

             Advanced Degree Programs

             Berkeley Law




                                  University of California, Berkeley 214 Boalt Hall
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                     LL.M. GUIDE FOR &$5((5SEARCH(6 THE UNIVERSITY OF
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PART I            CAREER & PROFESSIONAL DEVELOPMENT SERVICES OVERVIEW

Deborah and Anya are your Career Advisors specialized in working with LL.M. students. They liaise with the J.D.
counselors in the CDO to ensure uniformity in the resources and information given to all Berkeley Law students.

What We Do                                       What We Don’t Do                     The good news: your specific set
RESUME and COVER LETTER review                   Resume and cover letter writing      of skills, background, and
                                                                                      experience makes you a unique
INTERVIEW coaching/mock interviews               Set up interviews for you            candidate on the job market,
                                                                                      both in the U.S. and abroad.
Advice on NETWORKING IN THE U.S.                 Network for you
                                                                                      The bad news: there is almost no
including how to draft emails to people you
                                                                                      piece of advice Anya and
don’t know, follow up with contacts, and use
LinkedIn                                                                              Deborah can give that will apply
                                                                                      equally to the entire class. Make
Professional development PROGRAMMING
                                                                                      an appointment via bCourses and
                                                                                      they can help you craft your job
Facilitate your attendance at LL.M. JOB          Guarantee you’ll get a job
                                                                                      search process based on your
FAIRS
                                                                                      specific career goals and
Support your self-initiated job search           Provide job placement services       background.




RESUME AND COVER LETTER REVIEW PROCESS

Follow these steps in this order. Resumes and cover letters are reviewed on a first-come-first-served basis. If you
fail to do your part or go out of order, you will be put in the back of the line.
    1.   Review the resume and cover letter guides and templates posted on the ADP bCourses page and conform
         your materials to the U.S.-style formatting (for U.S. job positions)
    2.   Email your best version to llmresumereview@law.berkeley.edu. If you email it directly to Anya or
         Deborah we will lose it in our inboxes, we promise
             a.   IF YOU HAVE A LOOMING DEADLINE, MENTION THAT AND THE DATE IN YOUR
                  SUBJECT LINE! Our one exception to the first-come-first-served rule is for upcoming deadlines.
                  We do our best, though, and cannot guarantee you’ll receive feedback in time, so please plan
                  ahead
    3.   You may then receive a first round of feedback on formatting and grammar. Please be patient, we get a
         lot of resumes
    4.   Revise your materials and send them in again to llmresumereview@law.berkeley.edu for a second round
         of more substantive feedback
If you prefer to meet in person to discuss your resume and/or cover letter, please feel free to make an
appointment through bCourses. We may not have been able to review your materials before your meeting, but
will do so with you in person.




For more information: https://www.law.berkeley.edu/academics/llm/career-development/
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PART II THE U.S. LEGAL MARKET AND OPPORTUNITIES FOR LL.M. CANDIDATES

As you may know, the U.S. legal job market is extremely tough, and not just for LL.M. students. J.D. students face a
difficult job market as well. Less than 10% of the LL.M. class finds a job, temporary or permanent, in the U.S. following
graduation. We are here to support your U.S. job search, but it is important that you have another plan you pursue
with equal vigor. The Berkeley Law LL.M. degree is a valuable credential internationally and often propels forward the
career trajectory of our alumni.

OBSTACLES:
    x    U.S. work authorization
    x    Bar exam requirements
    x    Firm recruitment schedule

ADVANTAGES:
    x    Language skills
    x    Prior work experience
    x    Existing professional network

PATHWAY TO A U.S. JOB:
Connections, LL.M. job fairs, networking, and
serendipity! Of our students who found a new
job, most did so by using their personal network
(30%) and through ISIP (24%). *Most jobs found
through ISIP were for positions outside the U.S.



LESS THAN 10% OF STUDENTS FIND A JOB
IN THE U.S.—WHETHER TEMPORARY (OPT)
OR PERMANENT—FOLLOWING
GRADUATION.




RESOURCES – FIND ON BCOURSES

RESEARCH                                                             x    B-Line, Berkeley Law’s job database

    x    U.S. firms that hire foreign-educated LL.M.s            NETWORKING
    x    U.S. job requirements (years of experience                  x    Berkeley Law LL.M. LinkedIn group
         required, backgrounds of interest)                          x    Reaching out to alumni
JOB SEARCH WEBSITES                                                  x    Attending conferences
                                                                     x    Meeting on-campus guest speakers
    x    General aggregators, law firm-focused, in-                  x    Local or national bar associations
         house focused                                               x    Other professional development groups

For more information: https://www.law.berkeley.edu/academics/llm/career-development/
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On behalf of the Advanced Degree Programs Office at Berkeley Law, we congratulate you on
completing your first PRQWKof LL.M. studies! We know that many of you plan WR UHWXUQ WR
\RXU SULRU HPSOR\PHQW RU IXWXUH DFDGHPLF SXUVXLWV EXW Veveral of you have also mentioned that
you would like to be proactive about DMREVHDUFKIRUDQHZSRVLWLRQDIWHUJUDGXDWLQJZLWK\RXU
//0GHJUHH

To that end, we have compiled this LL.M. Guide for Job Searching, and we hope that it will be a
helpful resource for you. Below, you will find 5 “action items” that you can use as a guideline for
focusing your job search efforts.

As always, we welcome your feedback, and we look forward to working with you WKLV\HDU!


I.       EXPAND YOUR PROFESSIONAL NETWORK

Each and every one of you should be networking as much as possible. It has been proven many
times over that there is no better way to find a job than through connections.



          A.      SUGGESTIONS FOR MAKING NETWORKING CONTACTS

Below are some suggestions for connecting with your targeted networking contacts:

      •   Research law firms and organizations in your intended field of practice, and set up
          informational interviews with people at these organizations who may have great contacts
          and/or insights into how to succeed in their practice area. ,I WKHVH LQGLYLGXDOV DUH
          ORFDWHG RXWVLGH RI WKH %D\ $UHD \RX FDQ VHW XS SKRQH PHHWLQJV  If you are traveling to
          an area where you might like to workHLWKHULQWKH)DOORURYHUZLQWHUEUHDN, WDNHWKHWLPH
          QRZWRsetup some informational interviews with local practitioners.

      •   $WWHQGOXQFKWLPHDQGHYHQLQJSURJUDPVDWWKHODZVFKRROWKDWDUHLQWHQGHGIRU//0
          VWXGHQWV/HDUQDERXWSUDFWLFHDUHDVRILQWHUHVWDQGWKHQIROORZXSZLWKVSHDNHUVWRDUUDQJH
          IRULQIRUPDWLRQDOLQWHUYLHZV

      •   Research professional associations that are relevant to your practice area. Then, locate
          meetings or events held by these groups, and use these events to make connections

               o If you are interested in practicing law in the United States, you may wish to research
                 state bar associations in your target jurisdiction, including Sections and Committees
                 that are relevant to your intended field of practice. Often, state bar associations will
                 publish contact information for their Section officers on the state bar Web site. For
                 example, for the NY State Bar information, go to www.nysba.org and click onSections
                 & Committees (you will see various practice area sections ranging fromAntitrust
                 Law, Dispute Resolution, Environmental Law, IP Law to InternationalSection.).
                 Similarly, for the State Bar of California, go to www.calbar.ca.gov and clickon
                 ATTORNEYS at the top and then select Sections menu.
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    •   5HDFKRXWWRSHUVRQDOFRQQHFWLRQVDQGmake it known that you are searching for a job. You
        willbe surprised at who people know, and how much they are willing to help.

        %     SUGGESTIONS REGARDING EFFECTIVE USE OF E-MAIL

Many LL.M. students will use e-mail to reach out to potential networking contacts. Although
many employers and students now prefer the convenience of e-mail, you should make sure that
your e-mail correspondence is just as polished and formal as documents you send by mail. Here
are some tips that were excerpted from Before You Hit Send, by Katie Schendel:


    •   Your e-mail will serve as a writing sample. Therefore, you should read out loud or print out a
        copy of your e- mail and proofread it for errors – spend the same amount of time as you
        would spend on a hard copy letter.

    •   Always use your law school e-mail account QRKRWPDLO\DKRR RU JPDLODGGUHVVHV for any
        networking correspondence. Itconveys a professional image and for U.S. employers will be
        opened and read more often asBerkeley is a recognizable address.

    •   If you refer to attachments in your e-mail, make sure to attach the documents. Give each
        attachment a name that makes it easily identifiable (for example, “Jane Smith Resume”).

    •   You should always send documents in PDF format.

    •   Do not use emoticons, all caps, or abbreviations like “BTW” or “FYI.” Sign emails with
        “Thank you” “I look forward to hearing from you soon” or “Have a nice day”.

    •   If a networking contact is in your address book, be careful to avoid sending him or her
        inadvertent messages.

    •   5HIHUWRE&RXUVHVWRILQGVDPSOH,QIRUPDWLRQDO,QWHUYLHZHPDLOUHTXHVWV

        &     NETWORKING TIPS


Networking is a learned skill that can yield many rewards. We believe that if you approach
networking in a systematic and organized fashion, with an eye toward making useful professional
contacts in your desired field of practice, you will find the process very rewarding.

ADP offers a variety of helpful resources to consult regarding networking initiatives. In particular,
you should consult the networking and informational interviewing materials on bCourses under
Professional Development for guidance regarding the networking process including slides from the
U.S. Business Etiquette and Networking presentation, sample e-mails to send to networking
targets, and a list of questions to ask during an informational interview. Other books on
networking, including The Art of Mingling by Jeanne Martinet, and How to Talk to Anyone by
Leil Lowndes, are available at bookstores and online.



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II.      JOB INTERVIEWS

In addition to the informational interviewing which is a form of networking, some LL.M. students
may have scheduled job interviews HLWKHUGXULQJRQHRIWKHWZR//0MREIDLUVRUDUUDQJHG
WKURXJKRWKHUDSSOLFDWLRQSURFHVVHVThere are several resources at your disposal regarding the job
interview process.


•      You should first consult the interviewing resources we have posted on bCourses under
       Professional Development as they are tailored specifically for LL.M. students. For additional
       resources, you may consult the CDO’s extensive interviewing resources online at
       https://www.law.berkeley.edu/careers/resources/interviewing-2/ (username: cdo password:
       cdoaccess). Although these resources were designed for the J.D. population, they provide very
       helpful information regarding interviews in the United States.

•      We are available to assist you with interview preparation by conducting one-on-one “mock
       interviews” during regularly-scheduled appointment times. In fact, OHDGLQJXSWRWKHWZRMRE
       IDLUVwe will be dedicating overtwo weeks’ worth of appointments to mock interviews LQ
       -DQXDU\. For more information, please see Section V below.

•      We wanted to raise your awareness of videoconferencing facilities here at Berkeley Law.
       Should you need to schedule an interview with a long-distance employer, the school offers
       videoconferencing capabilities free of charge. For more information, please look at the
       instructions provided on bCourses under Professional Development.

•      Finally, we encourage you to reach out to us throughout the interview process – whether for
       interview preparation, or if you need help evaluating a job offer. We are here to help support
       you


III.     CHECK YOUR RESOURCES FOR JOB POSTINGS

//0 VWXGHQWV DUH YLHZHG DV ODWHUDO DWWRUQH\V E\ 86 HPSOR\HUV DQG QRW UHFUXLWHG WKURXJK RQ
FDPSXVUHFUXLWLQJ

We encourage you to be creative and flexible when searching for potential employment
opportunities. In addition to checking b-Line (Berkeley Law’s online jobs database – instructions on
how to access can be found on bCourses) at https://www.law.berkeley.edu/career-development-
office/jobs-career-options/b-line/, we suggest that you also review external job search databases.
We have listed several on bCourses under Professional Development. :KHQFRQVLGHULQJZKHWKHU
RU QRW WR VXEPLW DSSOLFDWLRQV IRU SRVLWLRQV SRVWHG RQ MRE VHDUFK GDWDEDVHV LW LV LPSRUWDQW WR
UHYLHZHG WKH PLQLPXP TXDOLILFDWLRQV  3RVLWLRQV SRVWHG WKDW OLVW %DU $GPLVVLRQ DV D PLQLPXP
UHTXLUHPHQWIRUH[DPSOHDUHQRWOLNHO\DZLVHLQYHVWPHQWRI\RXUWLPHEHIRUHJDLQLQJDGPLVVLRQ




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We suggest that U.S.-J.D. trained LL.M. students contact the institution where they obtained their
J.D. degrees, and ask for access to that institution’s jobs database as well.

       A.      CAREER OPTIONS AND SELF-ASSESSMENT

As you think creatively in considering a variety of potential employers, we suggest that you research
practice areas and employers. You can do this by consulting some of the resources provided on the
CDO website under either Private Sector or Public Interest. As part of this process, you may also
wish to conduct a self-assessment regarding your career options and potential employers. You can
access some Self-Assessment and Counseling resources compiled at
https://www.law.berkeley.edu/careers/resources/ which will help you identify your strengths,
interests, and target employers.

       B.      HOW TO SEARCH FOR U.S. LAW FIRMS THAT HIRE LL.M.
               CANDIDATES

If you are interested in working for a law firm LQWKH8QLWHG6WDWHVfollowing graduation from
Berkeley Law, we recommend that you perform a search of the NALP Directory (http://
www.nalpdirectory.com) to determine which law firms have affirmatively reported that they hire
either domestic and/or foreign LL.M.s. Simply enter your target geographical location and practice
focus, then select from the“Organizations that Hire” drop-down menu either “Domestic LL.M.s”
or “Foreign LL.M.s.”Within each law firm’s profile, there is a “Recruitment and Hiring” tab
where you can specificallyreview their reported “LL.M. Hiring Information,” including the
application process and timingguidelines. You may also reach out to the recruitment contact at each
firm directly under the “BasicInformation” tab for each law firm.

While the NALP Directory serves as a good starting point for your research about U.S. law firms, it
does not reflect all employers that have hired, or would be willing to hire, LL.M. candidates. Many
LL.M.s report to us that they have had success in gaining interview opportunities with a wide range
of employers through networking simply by reaching out to their professors, Berkeley Law alumni,
former colleagues, or professionals with a similar background to express an interest in an internship
or permanent opportunity in the United States. While this self-initiated job search may be time-
consuming and, at times, frustrating, ultimately it is the best path to make connections that you can
maintain throughout your career. You may also consult the table found in Appendix A. This is a
table of law firms that affirmatively operates a foreign lawyer program at their offices. The table
changes annually based upon individual law firm business decisions.


IV.   UPDATE YOUR RESUME AND PREPARE OTHER JOB SEARCH MATERIALS

We suggest that LI\RXSODQRQDMREVHDUFKLQWKH86RURXWVLGHRI\RXUKRPHMXULVGLFWLRQ\RX
update your resume and prepare other job search materials, such as cover letters, writing samples,
and a list of references. We also recommend that you obtain all necessary transcripts (undergraduate
law, etc.) as soon as possible, as employers often expect candidates to provide these materials during
the interview stages.

For information regarding the proper content and format of all of these materials, you FDQreview the
materials available posted on bCourses. There are samples and explanations provided.
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       A.      UPDATE YOUR RESUME

,QDGGLWLRQWRSRWHQWLDOO\FRQYHUWLQJ\RXU&9WRD86VW\OH UHVXPHVpecific updates that you might
wish to reflect include:

   •   Any relevant courses that you plan to take for the Spring semester (your resume should not
       include an exhaustive list of all coursework);

   •   Any student organizations or journals that you have joined at Berkeley Law;

   •   Any internships or other work experience that you DUHGRLQJQRZ;and

   •   Any professional associations you have joined since coming to Berkeley Law.


As a reminder, a Sample LL.M. Resume and an LL.M. Resume Self-Critique are available on
bCourses under “Professional Development” along with other application material samples and
guides.

Your LL.M. career advisors will review and comment on your resumeDW\RXUUHTXHVW. To submit
your resume for review, simply e-mail a copy to llmresumereview@law.berkeley.edu. We generally
ask for one week of turnaround time to return our comments to you. 7KLVYDULHVGXULQJEXV\WLPHV

$IWHU\RXUHFHLYHFRPPHQWVRQ\RXUUHVXPH\ou may set up an appointment on bCoursesLI\RX
KDYHTXHVWLRQVDERXWQH[WVWHSV.




       B.      COVER LETTERS

&RYHUOHWWHUVDUHDQHVVHQWLDOFRPSRQHQWRIWKHMREDSSOLFDWLRQSURFHVVLQWKH8QLWHG6WDWHV,IDMRE
SRVWLQJLQGLFDWHVWKDWDFRYHUOHWWHULVUHTXLUHGRURSWLRQDO\RXVKRXOGSURYLGHRQHDORQJZLWK\RXU
UHVXPH

3URYLGHGEHORZDUHHVVHQWLDOUHVRXUFHVIRUGUDIWLQJDQHIIHFWLYHFRYHUOHWWHURemember, for
success, you should tailor each cover letter to the relevant employer.  Also, remember to always
address your cover letter to the correct individual, and to highlight the aspects of your background
and experience that most closely match the criteria that the employer has set forth for the
position.




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We have provided cover letter guidance tailored for LL.M. candidates on bCourses under
Professional Development, including two sample LL.M. Cover Letters and an LL.M. Cover
Letter Outline.

&RYHUOHWWHUVDUHQRWDSDUWRIWKHLQLWLDOMREDSSOLFDWLRQSURFHVVIRUWKH//0&DUHHU)DLUVKHOGDW
1<8DQG8&/$

The process for submitting your cover letter for review is the same as the process for submitting
your resume: please e-mail a Word copy to
llmresumereview@law.berkeley.edu.

         C.       WRITING SAMPLES

A writing sample is exactly what it sounds like - a sample of your writing. You should not draft
something for DQapplication, but utilize a polished piece of legal writing that you previously
completed. The writing sample must be law-related, but it can either be a neutral research piece,
such as a l ega l memorandum, or persuasive writing. The topic of the writing sample is not as
important as that it shows your best reasoning and writing abilities, including your attention to detail
and analytical skills.

If your sample was written for an actual client during legal employment, obtain the permission of your
supervising attorney before you use it and replace the names involved with fictional ones that would protect the
conf id en tia li ty of the clients. Make it clear you have complied with confidentiality requirements so
that prospective employers can see your good judgment.

Create a cover sheet for your writing sample with your name and contact information, and any other
explanatory information you need to include. In the absence of a specified length for your writing
sample, it should be 5 – 8 pages (never more than 10). If the piece of writing you want to utilize is
too long, you can take a part of a longer piece of writing as long as it is able to stand on its own
logically. Anything you submit as a sample must be a true reflection of your own writing abilities,
and many requests for writing samples specify that it must be not be edited by others.

Proofread your writing sample multiple times to ensure that it is error-free and that you would be
comfortable discussing it in an interview. Please note that because employers expect writing
samples to be an applicant’s own work product, your LL.M. advisors will not be available to
review or edit your writing samples. We can, however, help you think through which sample
PLJKWEHEHVW



         D.       LIST OF REFERENCES

We suggest that you spend time QRZWKLQNLQJDERXWwho you should include in your list of
references that will ultimately be provided to a potential employer. If you have previously
prepared a list of references, please check that all of the contact information listed is still correct, and




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consider whether your list should be updated with new individuals with whom you have worked or
collaborated since arriving at Berkeley Law.

References are people who know you professionally RU academically and who can recommend
you for an internship or a job. It is appropriate to include three or four individuals on a list of
references. Do not list more than four individuals as a potential employer will never contact more
than four people and you want the potential employer to contact your best possible references.
Family members should not be included as references.

IMPORTANT: You should always confirm that your references consent to providingWKHLU
FRQWDFWLQIRUPDWLRQDQGVHUYLQJDVDUHIHUHQFHon your behalf. To assist you in drafting this
document, we have prepared a Sample LL.M. List of References posted on bCourses.

CLARIFICATION: When a U.S. employer asks for reference, it is not asking for letters of
recommendation. The employer is simply asking for the contact information of individuals that can
speak to your professional and/or academic abilities. They will then email/call your references.



              E.       TRANSCRIPTS

Now is the time to ensure that your transcripts are all in order. Be sure to obtain all necessary
transcripts and to scan them in PDF form at the lowest resolution possible. This will ensure that
you will always have electronic copies available. Many potential employers do not require an
“Official” transcript, but rather a photocopy or an electronic copy will suffice.

If you are an international LL.M. student, you may wish to request an English translation of the
transcript from your first law degree. With regard to your Berkeley Law transcript, please visit
https://www.law.berkeley.edu/academics/registrar/- instructions on requesting a transcript are
provided there Please note that your Berkeley Law transcript will likely not reflect your Fall 201
grades until after you return to campus in January.


    V.       PLANNING AHEAD

    We are excited to announce that we have already planned several PRUHevents for the )DOO DQG
    Spring semester. These will include a5HVXPH:RUNVKRS&DUHHU)DLU,QIRUPDWLRQ6HVVLRQ6SHHG
    1HWZRUNLQJ(YHQW$%$,QWHUQDWLRQDO/DZ&DUHHU3DQHOInterviewing Workshop, Mock Interviews,
    Drop-In Academic Advising, a LinkedIn Workshop, an LL.M. Alumni Careers Panel, OPT
    Application Training, and a Bar Exam Tips Panel featuring LL.M. alumni.

    We will remind you of these events, and will announce further programmingDVWKH\HDUFRQWLQXHV

*         *        *      *     *

    We hope that the above information is helpful to you as you conduct your job search during Winter
    Break. 3OHDVHUHPHPEHUWKDWWKH3URIHVVLRQDO'HYHORSPHQWUHVRXUFHVSURYLGHGRQE&RXUVHVDUH
    LQWHQGHGWREH\RXUILUVWVWRSIRULQIRUPDWLRQYour LL.M. career advisors will be happy to
    answer any questions regarding your job search strategies and any of the topics in this Guide. 
                                                    7
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Kind regards,

Deborah Schlosberg and Anya Grossmann and the rest of the ADP office




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             APPENDIX A


Firm                  Opportunities for LL.M. students.                Note
Alston & Bird LLP     Foreign Internship: 3-month unpaid               Prefers German speaking
                      internship program for international             applicants
                      lawyers.
                                                                       http://www.alston.com/careers-
                      The program is designed primarily to give        foreign-internships/
                      foreign lawyers firsthand experience with a
                      U.S. commercial law practice as part of
                      their preparation for professional practice in
                      their native countries.


Baker & Mckenzie      Award International Clerkships to law            Candidates typically need at least
                      students and recent graduates interested in      two years' formal legal training
                      exploring a career in law. Recipients            prior to their clerkship
                      typically work with lawyers from two
                      different countries over a 12-week period        http://www.bakermckenzie.com/en/
                                                                       careers#international%20clerkship
                                                                       s



Curtis, Mallet-       Curtis has a specific program designed for       http://www.curtis.com/sitecontent.c
Prevost, Colt &       LL.M. students.                                  fm?pageid=45
Mosle LLP
                      Their goal is to provide international
                      associates with practical training, while in
                      turn making use of their particular skills
                      through carefully selected assignments.
Debevoise &           Hires LL.M. students for associate               http://www.debevoise.com/insights
Plimpton LLP          positions                                        /news/associate-faqs
Fox Horan &           Provides an apprenticeship for foreign           http://foxhorancamerini.com/recruit
Camerini LLP          lawyers who recognize the value of               ing/
                      experience in a U.S. law firm before
                      returning to their home countries.

                      The apprenticeship for a foreign lawyer is
                      usually from four to six months.
Freshfields           Recruits LL.M. students from around the          http://www.freshfields.com/Templat
Bruckhaus Deringer    U.S. for trainee and associate positions in      es/MutliColumns/MultiColumns.as
                      their offices worldwide – January 15             px?pageid=2147947869
                      deadline
Gibbons PC            Foreign Legal Internship Program, based          Available only to German students
                      out of our New York office, offers German
                      referendars the opportunity to spend their       http://www.gibbonslaw.com/career
                      “Wahlstation” (last part of the mandatory        s/referendare/
                      German legal internship) with this firm.

                      This three to four-month program attracts
                      those who enjoy combining a challenging
                      legal internship with the excitement of
                      Manhattan’s fast-paced working
                      environment

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Shearman & Sterling   Shearman & Sterling offers an International
LLP                   Associate Program (IAP)                            http://www.shearman.com/en/care
                                                                         ers/americas/united-
                      The ideal candidate for an international           states/international-associate-
                      associate position has completed, with             program
                      academic distinction, both a law degree in
                      his or her home country and an LL.M.
                      program in a U.S. law school, and is
                      interested in full-time employment in our
                      office in his or her home jurisdiction
                      following the completion of the IAP.
Sullivan & Cromwell   Sullivan & Cromwell’s Visiting Lawyers             If the candidate is enrolled in a
LLP                   Program provides practical training in the         U.S. LL.M. or similar program,
                      United States to visiting lawyers who plan         S&C generally wishes to see the
                      to return to their home countries to practice      student’s first-semester grades
                      law
                                                                         https://careers.sullcrom.com/vlp



Zuber Lawler & Del    Offers a Visiting Foreign Attorney                 Applicant must be either a
Luca                  Internship Program. This program seeks to          practicing attorney licensed to
                      provide a visiting foreign attorney with a         practice and in good standing in a
                      realistic sense of the work performed at our       non-U.S. jurisdiction, or must be a
                      Firm and an in-depth overview of the U.S.          law-trained member of the legal
                      legal system.                                      department of a corporation or
                                                                         other institution having its office
                                                                         located outside the United States

                                                                         http://www.zuberlaw.com/lawfirm/c
                                                                         areers/visiting_foreign_attorney_int
                                                                         ernship_program
DLA Piper             Global one year program                            https://www.dlapiper.com/en/us/
Fenwick & West LLP    One year LL.M. position, 3 spots total             http://www.fenwick.com/pages/def
                                                                         ault.aspx
White & Case LLP      Summer Associate Program:                          https://uslawcareers.whitecase.co
                                                                         m/faqs
                      Each office makes a decision whether to recruit
                      LLM students at the beginning of the year. Start
                      accepting LLM applications starting in January
Crowell & Moring      Visiting International Scholars Program brings     https://www.crowell.com/Practices/
LLP                   lawyers from other countries and cultures into     International-Dispute-
                      our midst, broadening our contacts                 Resolution/International-Arbitration
                      internationally and our knowledge of other legal
                      systems.
                                                                         Although Crowell & Moring’s
                                                                         website states it maintains an
                                                                         International Scholars Program,
                                                                         the website does not include
                                                                         information on how to apply




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                                                                                Mark P. Gergen
                                                                                Associate Dean for Faculty
                                                                                Development and Research and
                                                                                Professor
                                                                                University of California, Berkeley
                                                                                School of Law
August 30, 2018                                                                 598 Simon Hall
                                                                                Berkeley, CA 94720
                                                                                510 643-9577
                                                                                Fax 510 643-7397
Ernst & Young                                                                   www.law.berkeley.edu
                                                                                mgergen@law.berkeley.edu
To Whom It May Concern:

         I am writing this letter on behalf of Henrique Faria, who was a student in my Partnership
Tax class last Spring. I learned of Faria’s visa issue from my wife, who runs our Advanced
Degree Program. This was over glasses of wine at end of the day as we discussed problems of
the day. When I told her of how impressed I was by Faria’s performance in Partnership Tax she
suggested I write this letter on behalf of Faira. Unfortunately, the need to move quickly requires
that this letter be transmitted to you through Faira. Please do not discount what I say here for
this reason. I am happy to talk on the phone or communicate by email, if you want to follow up.

        Let me cut to the quick. Based on his performance in Partnership Tax I believe Faria has
the analytical ability, work ethic, and lingual talent to be one of the best international tax lawyers
of his generation. Partnership Tax is an extraordinarily difficult class with stiff competition. I
teach it at a very high level. Faria received the fourth highest grade in a class of 10 students,
tying with another student. Foreign LLM students rarely take any U.S. tax courses, much less
Partnership Tax. Faria’s performance in the class is the best performance of any foreign LLM
student in a U.S. tax course that I have taught.

        But this is not why I am so impressed by Faria. As I said, the pool of foreign LLM
students who take U.S. tax courses is fairly small at Berkeley. What so impressed me by Faria is
the quality of his performance in the class. He was there every day except when he went to two
job fairs, one of which landed him the job at E&Y. (By the way, he was thrilled when he landed
the job.) It was a small class so he was on call every third day. He was always prepared. And it
was clear over the course of the semester that he was mastering U.S. partnership tax.

         One moment stands out for me in particular. We were deep in the course and studying
inside basis adjustments under § 734(b). Earlier we had studied inside basis adjustments under §
743(b). Nominally (and incorrectly) § 743(b) adjustments are “personal” to the acquirer of a
partnership interest. Embedded deep in the § 734(b) regulations is an example, which (correctly)
enables other partners to benefit from an inside basis adjustment. The factual setting of the
problem is quite complicated. It involves a series of transactions with partnership interests
changing hands by a mix of transfers between partners and transfers between a partnership and
partners. I call on students in order. It was Faria’s turn. On a problem this difficult, I always
tell a student he or she may pass. After so advising Faria, I told him that if he wanted to take a
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crack at the problem, then I wanted him to pretend he was explaining the relevant rules, their
practical implications for the partners, and the reasons behind the rules as if he were talking to a
lawyer who did not know partnership tax or to a sophisticated client. Faria’s answer was
extraordinary on each of the dimensions I just described. When he was done I literally
applauded him and said how impressed I was by his answer.

        I am not surprised in seeing on Faria’s transcript that he received an HH (top 10%) and
an H (roughly top 35 to 40%) in International Tax and Corporate Tax. His P grades in Income
Tax and Partnership Tax do not shake my assessment of his ability. Tax law is extraordinarily
path dependent. Tax law is a highly artificial system that maps on to systems that them selves
are highly artificial (e.g., the private law of business entities and trusts). Occasionally in my
career I have found it necessary to understand at more than a superficial level company law and
tax law in other legal systems. I find this daunting when the other system is a common law
system and next to impossible when the other system is a civil law system. Faria’s grasp of the
U.S. tax system—and his ability to explain the system in English—is extraordinarily impressive
for a lawyer from a civil law system.

       E&Y was lucky to have recognized Faria’s talent and to hire him. You need to find a
way to keep him as part of your firm. I apologize for my institution creating this problem for
you and him.




                                                     Mark P. Gergen
                                                     Associate Dean for Faculty Development
                                                     and Research and Robert and Joann Burch
                                                     D.P. Professor of Tax Law and Policy
                                                     University of California, Berkeley School of
                                                     Law




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  WKDW\RXKDYHWKHDELOLW\WRJURZDQGWKULYHLQRXULQFOXVLYHDQGVXSSRUWLYH
HQYLURQPHQWLQZKLFK\RXUXQLTXHWDOHQWVDQGFRQWULEXWLRQVZLOOEHUHFRJQL]HG
                                   DQGYDOXHG

 ,QWKHSDJHVWKDWIROORZ\RX OOILQGWKHQHFHVVDU\GHWDLOVDERXW\RXUVWDUWGDWH
RULHQWDWLRQDQGEHQHILWVDVZHOODVILUPSROLFLHVDQGFHUWLILFDWLRQUHTXLUHPHQWV
6KRXOG\RXGHFLGHWRDFFHSWWKLVRIIHUDVRXWOLQHGEHORZHOHFWURQLFDOO\VLJQE\
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 WRIRVWHULQJDSURIHVVLRQDOHQYLURQPHQWZKHUH\RXUFDUHHUPD\IORXULVK2XU
  OHDUQLQJFXOWXUHZLOOSURYLGHVXSSRUWIRU\RXUGHYHORSPHQWZLWKPHQWRULQJ
 FRDFKLQJDQGHGXFDWLRQDORSSRUWXQLWLHVERWKIRUPDODQGLQIRUPDO:H OODOVR
   VWULYHWRSURYLGHWKHIOH[LELOLW\\RXQHHGDV\RXOHDUQWREDODQFHZRUNDQG
SHUVRQDOOLIH3OHDVHUHDGDOORIWKHDWWDFKHGLQIRUPDWLRQDQGLIWKHWHUPVRIRXU
 RIIHUDUHDFFHSWDEOHWR\RXSOHDVHVLJQZKHUHLQGLFDWHG:HORRNIRUZDUGWR
                                 KHDULQJIURP\RX

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        &3$:RUN/RFDWLRQ/LFHQVH5HTXLUHPHQWIRU([LVWLQJ&3$V
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                     7LWOH&RPSHQVDWLRQDQG6WDUW'DWH

 8SRQMRLQLQJ(< V,QWHUQDWLRQDO7D[6HUYLFHV3UDFWLFHEDVHGLQRXU1HZ<RUN
       RIILFH\RXZLOOKDYHWKHWLWOHRI6HQLRU(IIHFWLYHRQ\RXUILUVWGD\RI
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VHPLPRQWKO\RQWKHWKDQGODVWGD\RIHDFKPRQWK:HDQWLFLSDWHKDYLQJ\RX
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ZLOOWU\WREHIOH[LEOHUHJDUGLQJDPXWXDOO\DJUHHGXSRQGDWH,QDGGLWLRQWR\RXU
EDVHSD\\RXZLOOKDYHWKHRSSRUWXQLW\XQGHU(< VYDULDEOHSD\SURJUDPWREH
    UHFRJQL]HGIRUFRQWULEXWLRQVWKDWJRDERYHDQGEH\RQGRXUHYHU\GD\KLJK
  H[SHFWDWLRQV7KHILUP¶VYDULDEOHSD\SURJUDPFXUUHQWO\LQFOXGHVUHFRJQLWLRQ
DZDUGVSURPRWLRQERQXVHVDQGDWWKHUDQNRI6HQLRUDQGDERYHSDUWLFLSDWLRQLQ
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          'HVLJQDWHGSD\GD\7KHWKDQGODVWGD\RIHDFKPRQWK

                             &RPSHQVDWLRQ3ROLF\

 (<KDVDSHUIRUPDQFHEDVHGFRPSHQVDWLRQSROLF\DQGDQ\DGMXVWPHQWVWR\RXU
 EDVHDQQXDOVDODU\ZLOOEHEDVHGSULPDULO\RQ\RXUDQQXDOSHUIRUPDQFHDVZHOO
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  -XO\DQGFRQFOXGHV-XQH3UDFWLFHOHDGHUVKLSZLOOPDNHWKHILQDOGHFLVLRQ
UHJDUGLQJDQ\EDVHDQQXDOVDODU\DGMXVWPHQWVDZDUGHG<RXZLOOEHHOLJLEOHIRUD
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 FRYHUDJHSOHDVHQRWHWKDWLWGRHVQRWEHFRPHHIIHFWLYHIRUQHZVWDIIPHPEHUV
  DQGWKHLUGHSHQGHQWVXQWLOWKHILUVWGD\RIWKHPRQWKIROORZLQJWKHPRQWKLQ
  ZKLFK\RXUHPSOR\PHQWEHJLQV)RUH[DPSOHDSHUVRQVWDUWLQJRQ-XQH
 ZRXOGEHHOLJLEOHIRULQVXUDQFHFRYHUDJHHIIHFWLYH-XO\:HPHQWLRQWKLVVR
 \RXPD\DUUDQJHSHUVRQDOFRYHUDJHLIDODSVHRIWLPHRFFXUVEHWZHHQWKHGDWH
      \RXUSUHVHQWPHGLFDOLQVXUDQFHFHDVHVDQGRXUVEHFRPHVHIIHFWLYH

  <RXU7RWDO5HZDUGVEHQHILWVSDFNDJHLVPRUHWKDQMXVW\RXUPHGLFDODQGOLIH
 LQVXUDQFHFRYHUDJH,I\RX¶UHLQWHUHVWHGLQOHDUQLQJPRUHDERXWZKDWZHRIIHU
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 7ROHDUQPRUHDERXWZKDW7RWDO5HZDUGVPHDQVDW(UQVW <RXQJ//3FOLFN
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    PDLQWDLQ\RXUVWDWXVGXULQJ\RXUHPSOR\PHQWZLWKXVLQDFFRUGDQFHZLWK
     HVWDEOLVKHG86LPPLJUDWLRQODZV2QFH\RXKDYHDFFHSWHGRXURIIHURI
     HPSOR\PHQW\RXUFRQWDFWLQIRUPDWLRQZLOOEHSURYLGHGWR(</DZRXU
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   RQHZHHNRIDFFHSWLQJRXURIIHURIHPSOR\PHQWSOHDVHFRQWDFWRXU6KDUHG
 6HUYLFHV&HQWHUDW(<+(/32SWLRQ8SRQVXFFHVVIXOFRPSOHWLRQRI
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               FXUUHQWO\KDYHRQHZHFDQFRQILUP\RXUVWDUWGDWH
Case 4:19-cv-08388-DMR Document 1-1 Filed 12/23/19 Page 42 of 189



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 LQIRUPDWLRQGRFXPHQWDWLRQOLVWHGEHORZWRFRPPHQFHWKHSURFHVVDQGSUHSDUH
  WKHYLVDDSSOLFDWLRQIRUILOLQJ3OHDVHHQVXUHWKDW\RXKDYHDOOGRFXPHQWDWLRQ
   UHDGLO\DYDLODEOHEXWSOHDVHGRQRWUHWXUQWKHGRFXPHQWDWLRQZLWK\RXURIIHU
  OHWWHU7KHJDWKHULQJRIWKHVHGRFXPHQWVZLOOTXLFNHQWKHYLVDSURFHVV%DVLF
 LQIRUPDWLRQWKDW\RXVKRXOGEHJDWKHULQJDVDYDLODEOHWR\RXDWWKLVWLPHLVDV
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      DSSURYDOQRWLFHVRURWKHUUHODWHG86LPPLJUDWLRQGRFXPHQWVVXFKDVDOO
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       DGGLWLRQWRPDUULDJHFHUWLILFDWHVIRUVSRXVHVDQGELUWKFHUWLILFDWHVIRU
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<RXUHPSOR\PHQWUHODWLRQVKLSZLWK(<LVDWZLOO7KLVPHDQVWKDWHLWKHU
 \RXRU(<PD\WHUPLQDWHWKHUHODWLRQVKLSDWDQ\WLPHIRUDQ\UHDVRQZLWK
    RUZLWKRXWQRWLFHRUFDXVHXQOHVVVWDWHGRWKHUZLVHLQDQHPSOR\PHQW
    DJUHHPHQWVLJQHGE\DQDXWKRUL]HGSHUVRQ1RWKLQJFRQWDLQHGLQDQ\
    SROLFLHVRUUXOHVRUDQ\UHSUHVHQWDWLRQRIWKHFRQWUDU\ZLOODOWHUWKDW
 UHODWLRQVKLSXQOHVVLQZULWLQJVLJQHGE\DQDXWKRUL]HGSHUVRQ7KLVRIIHULV
 FRQWLQJHQWXSRQ\RXUDJUHHPHQWWKDWDQ\GLVSXWHFRQWURYHUV\RUFODLP DV
  GHILQHGLQWKH(<&RPPRQ*URXQG'LVSXWH5HVROXWLRQ3URJUDP DULVLQJ
EHWZHHQ\RXDQG(<ZLOOEHVXEPLWWHGILUVWWRPHGLDWLRQDQGLIPHGLDWLRQLV
 XQVXFFHVVIXOWKHQWRELQGLQJDUELWUDWLRQLQDFFRUGDQFHZLWKWKHWHUPVDQG
   FRQGLWLRQVVHWIRUWKLQ$$ZKLFKGHVFULEHV(<¶V&RPPRQ*URXQG
  'LVSXWH5HVROXWLRQ3URJUDP%\VLJQLQJWKLVRIIHU\RXDFNQRZOHGJHWKDW
\RXKDYHUHDGDQGXQGHUVWDQGWKH(<&RPPRQ*URXQG'LVSXWH5HVROXWLRQ
3URJUDP $$ DQGWKDW\RXVKDOODELGHE\LW<28$&.12:/('*(
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                       3URJUDPLVLQFOXGHGIRU\RXUUHYLHZ

7KLVRIIHULVFRQWLQJHQWXSRQ\RXUVXFFHVVIXOFRPSOHWLRQRIRXUKLULQJSURFHVV
     LQFOXGLQJUHFHLSWRILQIRUPDWLRQVDWLVIDFWRU\WR(<LQUHVSRQVHWRRXU
 EDFNJURXQGLQYHVWLJDWLRQSURFHVV7KLVLQFOXGHVLQIRUPDWLRQVSHFLILFWR\RXU
FXUUHQWSRVLWLRQHPSOR\HUZKLFKZLOOEHYHULILHGDWWKHDSSURSULDWHWLPH3OHDVH
Case 4:19-cv-08388-DMR Document 1-1 Filed 12/23/19 Page 43 of 189


     QRWHWKDWRXURIIHULVVXEMHFWWRWKHWHUPVDQGFRQGLWLRQVVHWIRUWKLQWKH
                DSSOLFDWLRQ\RXFRPSOHWHGIRUHPSOR\PHQWDW(<

7KLVRIIHULVDOVRFRQWLQJHQWXSRQFRPSOHWLRQRID3XEOLF&RPSDQ\$FFRXQWLQJ
2YHUVLJKW%RDUG 3&$2% &RQVHQW)RUP$OLQNWRWKH3&$2%&RQVHQW)RUP
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 7KLVRIIHUDQG\RXUFRQWLQXHGDVVRFLDWLRQZLWK(<LVDOVRFRQWLQJHQWXSRQ
 \RXUIXOOFRPSOLDQFHZLWKDQ\H[LVWLQJFRQWUDFWXDOREOLJDWLRQVRZHGWR\RXU
    SUHVHQWRUSULRUHPSOR\HULQFOXGLQJDQ\REOLJDWLRQWRUHIUDLQIURPD 
UHWDLQLQJPLVXVLQJRUGLVVHPLQDWLQJFRQILGHQWLDORUSURSULHWDU\LQIRUPDWLRQ
E VROLFLWLQJDQ\SHUVRQQHODQGF VROLFLWLQJDQ\FOLHQWVWKDWDUHSURKLELWHGWR
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$JUHHPHQW$OLQNWRWKH&RQILGHQWLDOLW\$JUHHPHQWLVLQFOXGHGIRU\RXUUHYLHZ

                                 &RGHRI&RQGXFW

7KH$PHULFDV&RGHRI&RQGXFWSURYLGHVWKHHWKLFDOIUDPHZRUNWKDWJXLGHVRXU
   UHVSRQVHWRWKHFKDOOHQJLQJDQGVRPHWLPHVGLIILFXOWFKRLFHVZHIDFH8SRQ
MRLQLQJ(<\RXZLOOEHUHVSRQVLEOHIRUEHLQJIDPLOLDUZLWKDQGFRPSO\LQJZLWK
 WKH&RGHDQGZLWKDQ\RWKHUSURFHGXUDORUDGPLQLVWUDWLYHSROLFLHVWKDWDSSO\WR
\RXUSDUWLFXODUMREIXQFWLRQV<RXZLOOEHUHTXLUHGWRVLJQWKH&RGHRI&RQGXFW
DIILUPDWLRQXSRQ\RXUKLUHDQGWKHUHDIWHURQDQDQQXDOEDVLV$OLQNWRWKH&RGH
RI&RQGXFWLVLQFOXGHGIRU\RXUUHYLHZ3OHDVHUHDGLWRYHUFDUHIXOO\VRWKDW\RX
        ZLOOEHSUHSDUHGWRVLJQWKH&RGHGXULQJ\RXUILUVWGD\VZLWK(<


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    $OOFOLHQWVHUYLQJHPSOR\HHVDUHVXEMHFWWR(< VLQGHSHQGHQFHSROLF\2XU
SROLF\DPRQJRWKHUWKLQJVSURKLELWV\RX\RXUVSRXVHRUVSRXVDOHTXLYDOHQWDQG
    GHSHQGHQWV LPPHGLDWHIDPLO\PHPEHUV IURPKROGLQJRUFRPPLWWLQJWR
    DFTXLUHDQ\ILQDQFLDOLQWHUHVWVLQ(< VDXGLWDQGIXOO\SURVFULEHGQRQDXGLW
 FOLHQWV7KHUHPD\EHUHVWULFWLRQVRQGHSRVLWLQVXUDQFHEURNHUDJHDQGOHQGLQJ
 UHODWLRQVKLSVZLWKDQDXGLWFOLHQWLI\RXEHFRPHDFRYHUHGSHUVRQ$GGLWLRQDOO\
WKHUHDUHSRWHQWLDOUHVWULFWLRQVRQDQLPPHGLDWHIDPLO\PHPEHU¶VHPSOR\PHQWRI
        RUSDUWLFLSDWLRQLQHPSOR\HHEHQHILWSODQVRIDQDXGLWFOLHQWRI(<
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   $VDQ(<HPSOR\HHLQFOXGLQJLQWHUQV\RXFDQQRWEHDQ HPSOR\HH HYHQLI
 HPSOR\HGSDUWWLPHRUVHDVRQDO RIDUHVWULFWHGHQWLW\ LHDQDXGLWFOLHQWRULWV
DIILOLDWHV DWWKHVDPHWLPH,IWKHHPSOR\HULVDUHVWULFWHGHQWLW\\RXZLOOQHHGWR
                   FHDVHHPSOR\PHQWSULRUWR\RXUVWDUWGDWHDW(<

    <RXVKRXOGEHFRPHIDPLOLDUZLWKWKHUHTXLUHPHQWVRIWKH(<LQGHSHQGHQFH
  SROLF\DQGDQ\SURKLELWHGUHODWLRQVKLSVLQYHVWPHQWVZLOOQHHGWREHFKDQJHGRU
   GLVSRVHGRISULRUWRWKHVWDUWRI\RXUHPSOR\PHQW<RXFDQVHQGDQHPDLOWR
   DVNLQGHSHQGHQFH#H\FRPZLWKDQ\TXHVWLRQV\RXPD\KDYH<RXUUHFUXLWHU
    FDQDOVRSXW\RXLQWRXFKZLWKDQ,QGHSHQGHQFHSURIHVVLRQDODVQHFHVVDU\WR
  GLVFXVVFRPSOH[TXHVWLRQVFRQFHUQV2QFH\RXKDYHMRLQHG(<LWZLOOEH\RXU
 RQJRLQJUHVSRQVLELOLW\WRHQVXUHIXOOFRPSOLDQFHZLWK(< VSROLF\UHTXLUHPHQWV
 1RWHWKDW3UDFWLFH6XSSRUWDQG$GPLQLVWUDWLYH6XSSRUWSHUVRQQHODUHQRWVXEMHFW
WR(< VLQGHSHQGHQFHSROLFLHV 3OHDVHEHDZDUHWKDW(<SHUIRUPVLQGHSHQGHQFH
     FRPSOLDQFHDXGLWVRQSHUVRQQHOZKLFKPD\QHFHVVLWDWH\RXUVXEPLVVLRQRI
 DFFRXQWVWDWHPHQWVWD[UHWXUQVDQGRWKHUGRFXPHQWVWRVXSSRUWWKLVHQGHDYRU
         <RXZLOOEHFRQWDFWHGODWHURQWKLVPDWWHULIVHOHFWHGIRUDQDXGLW


        &3$:RUN/RFDWLRQ/LFHQVH5HTXLUHPHQWIRU([LVWLQJ&3$V

  )LUPSROLF\UHTXLUHVDOOFOLHQWVHUYLQJ&3$VZKRDUHLQ$VVXUDQFH$GYLVRU\
7D[RU7$6DQGDOOSDUWQHUVWRKROGDQDFWLYH&3$OLFHQVHLQWKHLUZRUNORFDWLRQ
VWDWH7KLVSROLF\DSSOLHVWR\RXHYHQLI\RXU&3$OLFHQVHLVFXUUHQWO\LQDFWLYHRU
H[SLUHG<RXDUHUHTXLUHGWRDFWLYDWH\RXUFXUUHQWOLFHQVHDQGLIQHFHVVDU\DSSO\
  IRUDQDFWLYH&3$OLFHQVHLQ\RXUZRUNORFDWLRQVWDWH,I\RXQHHGWRUHLQVWDWH
\RXUOLFHQVHDQGRUDSSO\IRUDQHZOLFHQVH\RXVKRXOGVWDUWWKLVSURFHVVDVVRRQ
DV\RXNQRZZKHUH\RXUZRUNORFDWLRQZLOOEH7KLVUHTXLUHPHQWLVVHSDUDWHDQG
DSDUWIURPVHUYLFHOLQHFHUWLILFDWLRQUHTXLUHPHQWV&3$VZKRWUDYHORXWVLGHWKHLU
 ZRUNORFDWLRQVWDWHPXVWHQVXUHFRPSOLDQFHZLWKWKRVHVWDWHV¶UHTXLUHPHQWVRQ
   &3$OLFHQVLQJ,I\RXKDYHDQ\TXHVWLRQVDERXWVWDWHRUILUPUHTXLUHPHQWV
SOHDVHFRQWDFWWKH&3$/LFHQVLQJ6XSSRUW7HDPDW(<&3$2QFH\RX
  MRLQ(<\RXZLOOILQGDGGLWLRQDOLQIRUPDWLRQUHJDUGLQJFRPSO\LQJZLWK&3$
                 /LFHQVLQJLQWKH3ROLFLHVDQG3UDFWLFH5HSRVLWRU\

                           &HUWLILFDWLRQ5HTXLUHPHQWV

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DSSURSULDWHWRWKHEXVLQHVVVHUYLFHVWKH\ZLOOEHSURYLGLQJSULRUWRHOLJLELOLW\IRU
  FRQVLGHUDWLRQIRUSURPRWLRQWRDPDQDJHUOHYHOSRVLWLRQ3OHDVHIHHOIUHHWR
        FRQWDFW\RXUUHFUXLWHUWRGLVFXVVWKHFHUWLILFDWLRQUHTXLUHPHQWV

                       ,GHQWLW\DQG(OLJLELOLW\'RFXPHQWV

7RFRPSO\ZLWKWKHIHGHUDOLPPLJUDWLRQODZVZHDUHUHTXLUHGDVDFRQGLWLRQRI
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   DQGHPSOR\PHQWHOLJLELOLW\GRFXPHQWVIRURXUUHYLHZXSRQFRPPHQFLQJ
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      HPSOR\PHQWZLWKXV7KLVIRUPZLOOEHVHQWWR\RXDORQJZLWKRWKHU
        GRFXPHQWDWLRQDQGLQIRUPDWLRQDV\RXUVWDUWGDWHDSSURDFKHV


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 'XULQJ\RXUILUVWGD\VZLWKRXUILUP\RXFDQH[SHFWWRUHFHLYHDQRULHQWDWLRQ
ZKLFKLQFOXGHVJHQHUDOLQIRUPDWLRQDERXW(<\RXUFDUHHUGHYHORSPHQWFOLHQW
DVVLJQPHQWVDQGRUMREUHVSRQVLELOLWLHV$GGLWLRQDOO\\RXZLOOEHLQWURGXFHGWR
DGPLQLVWUDWLYHPDWWHUVWKDWDUHLPSRUWDQWWRRXULQWHUQDOEXVLQHVVSURFHVVHV$V
  SDUWRI(< VRULHQWDWLRQSURFHVV\RXDUHUHTXLUHGWRDWWHQGDVHVVLRQRIWKH
          5HVSHFWDW:RUN3URJUDPZLWKLQGD\VRI\RXUVWDUWGDWH

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  +HQULTXHSOHDVHUHVSRQGWRRXURIIHUQRODWHUWKDQ-XQH,IWKHWHUPV
  VWDWHGLQ  WKLVOHWWHUDQG  DOODWWDFKPHQWVWRWKLVOHWWHU OLVWHGEHORZIRU
    \RXUUHIHUHQFH DUHDJUHHDEOHWR\RXSOHDVHLQGLFDWH\RXUDFFHSWDQFHE\
 FKRRVLQJWKH³$FFHSWWKHRIIHU´RSWLRQEHORZ6HOHFWLQJWKH³$FFHSWWKHRIIHU´
    RSWLRQEHORZFRQVWLWXWHV\RXUXQGHUVWDQGLQJDQGDFFHSWDQFHRIWKHWHUPV
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     3XEOLF&RPSDQ\$FFRXQWLQJ2YHUVLJKW%RDUG 3&$2% &RQVHQW)RUP
                 )RU,QIRUPDWLRQDO3XUSRVHV2QO\ &OLFN+HUH
      &RQILGHQWLDOLW\$JUHHPHQW)RU,QIRUPDWLRQDO3XUSRVHV2QO\ &OLFN
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         .QRZOHGJH6KDULQJ3ROLF\DQG3UDFWLFH6WDWHPHQW &OLFN+HUH
     6HFXUH'LVSRVDORI5HFRUGV&RQWDLQLQJ&RQILGHQWLDO,QIRUPDWLRQ &OLFN
                                      +HUH
           &RPPRQ*URXQG'LVSXWH5HVROXWLRQ3URJUDP &OLFN+HUH
        &RGHRI&RQGXFW)RU,QIRUPDWLRQDO3XUSRVHV2QO\ &OLFN+HUH
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                                                                          Henrique Lavalle Faria <henriquefaria@gmail.com>



  Welcome to the LL.M. Class of 2018: Traditional Track
  Berkeley Law LL.M. Program <llmadmits@law.berkeley.edu>                                        Wed, Apr 19, 2017 at 7:10 PM
  Reply-To: "Berkeley Law LL.M. Program" <llmadmits@law.berkeley.edu>
  To: Henrique Faria <henriquefaria@gmail.com>




               Connect with us:



                                 Congratulations on your Enrollment at Berkeley Law

              Dear Henrique,

              We've received your acceptance of our admission offer and your tuition deposit.
              Congratulations on your enrollment in the traditional track of the Berkeley Law
              LL.M. program!

              What's Next?

              The first step toward obtaining your student visa is completing the Non-Immigrant
              Information Form, or NIF. In a few days, your Non-Immigrant Information Form will
              be available on CalCentral. Check CalCentral to access and complete the NIF. If
              you have questions about the NIF, please review some basic information about
              the visa process at the Berkeley International Office New Students website. The visa
              application process can take 3-4 months, so we urge you to take action as soon
              as possible. If you have questions or problems completing the NIF, please contact
              nif@berkeley.edu.

              We look forward to welcoming you to Berkeley Law in the fall!

              Sincerely,

              Advanced Degree Programs

              Berkeley Law


                                "Earning an LL.M. at Berkeley is a unique experience you share
              with others. The relationships with your classmates grow very fast; you are
              enjoying leisure time, as well as the sometimes less pleasant time before the
              exams! Those very different situations you encounter together leave a strong
              bond that lasts."

                                                                                        -- Conradin Cramer, '11
                                                                                              Basel, Switzerland


                                  University of California, Berkeley 214 Boalt Hall
                                  School of Law                      Berkeley, CA 94720
                                  Advanced Degree Programs Office +1 510.642.1476

             Click here to opt out of further emails from Berkeley Law.


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Home » Academics » LL.M. Programs » Professional Development » FAQs Traditional Track



FAQs Traditional Track
Below are some basic responses to frequently asked questions
posed by current and admittedbstudents in the traditional track.

Berkeley Law does not provide job placement services to LL.M.
students. Rather, our professional development advisors in the
Advanced Degree Programs OɈce create workshops and provide
counseling designed to assist in our students’ professional
development and career advancement internationally.b

        Can/will I get a job in the U.S. as a LL.M.
        traditional track student/graduate?                                                   
        Do I need to take the bar to get a job in the
        U.S.?                                                                                 
        Is there a recommended timeline to secure
        a position in the U.S.?                                                               
        What are good job search strategies?                                                  
        How do LL.M. students obtain jobs?                                                    
        What job fairs are LL.M. students eligible for
        at Berkeley Law?                                                                      
        How do I make contacts with attorneys in
        the United States?                                                                    
        How do I change my CV to a resume and
        write a cover letter?
https://www.law.berkeley.edu/academics/llm/professional-development/faqs-traditional-track/      1/2
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        What can LL.M. students do to prepare for
        interviews?                                                                           
        Are there visa regulations to stay in the U.S.
        for Optional Practical Training?                                                      
        Yes. Be aware of visa regulations for Academic
        Training and Optional Practical Training. Admitted
        students, current students and alumni may contact
        UC Berkeley International OɃce to learn more about
        their ability to work in the United States.


        When can I expect to obtain job offers?                                               
        Where do LL.M. graduates work?                                                        
        How do I highlight my value and
        marketability to potential employers?                                                 
        What positions should I apply for?                                                    




https://www.law.berkeley.edu/academics/llm/professional-development/faqs-traditional-track/       2/2
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      LL.M. Student Handbook


      Advanced Degree Programs Oﬃce

University of California, Berkeley School of Law
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ACADEMIC CALENDAR 2017-2018

FALL SEMESTER 2017

 Orientation for LLM Students                                      Aug. 14, Monday

 Term begins                                                       Aug. 14, Monday

 Fundamentals of US Law for LLM Students                           Aug. 16-18, Wednesday-Friday

 Orientation for Transfer Students                                 Aug. 16, Wednesday

 Orientation for 1Ls                                               Aug. 17-18, Thursday-Friday

 Orientation for JSD Students                                      Aug. 18, Friday

 Instruction Begins                                                Aug. 21, Monday

 Labor Day, no classes meet                                        Sep. 4, Monday

 Last Day to Add/Drop                                              Sep. 22, Friday

 Veterans Day, no classes meet                                     Nov. 10, Friday

 Last Day of Regularly Scheduled Classes                           Nov. 21, Tuesday

 Thanksgiving, no classes meet                                     Nov. 22-24, Wednesday-Friday

 Make-up day for Monday classes missed on Labor Day                Nov. 27, Monday

 Make-up day for Friday classes missed on Veterans Day             Nov. 28, Tuesday

 Make-up day for Wednesday classes missed on November 22nd, the
                                                                   Nov. 29, Wednesday
 day before Thanksgiving

 Make-up day for Thursday classes missed on Thanksgiving Day       Nov. 30, Thursday

 Make-up day for Friday classes missed on November 24th, the day   Day to be scheduled by the Registrar in consulta on
 after Thanksgiving                                                with the instructor.

 All Make-Up Classes Concluded                                     Nov. 30, Thursday

 Review Sessions/Reading Period                                    Dec. 1-5, Friday-Tuesday
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                                                                     Dec. 6-15, Wednesday-Friday, Sat. Dec. 9 regular exam
 Final Examinations
                                                                     day

 Fall Semester Ends                                                  Dec. 15, Friday


SPRING SEMESTER 2018

 Term begins                                                         Jan. 1, Monday

 Instruction Begins for Regularly Scheduled Classes                  Jan. 8, Monday

 Martin Luther King Jr. Holiday, no classes meet                     Jan. 15, Monday

 Last Day to Add/Drop                                                Feb. 9, Friday

 Presidents Day Holiday, no classes meet                             Feb. 19, Monday

 Cesar Chavez Holiday                                                Mar. 30, Friday

 Spring Recess, no classes meet                                      Mar. 26-30, Monday-Friday

 Last Day of Regularly Scheduled Classes                             Apr. 20, Friday

 Make-up day for Monday classes missed on Martin Luther King Day     Apr. 23, Monday

 Make-up day for Monday classes missed on Presidents Day             Apr. 24, Tuesday

 All Make-Up Classes Concluded                                       Apr. 24, Tuesday

 Review Sessions/Reading Period                                      Apr. 25-27, Wednesday-Friday

                                                                     Apr. 30-May 9, Monday-Wednesday, Sat. May 5 regular
 Final Examinations
                                                                     exam day

 Spring Semester Ends                                                May 9, Wednesday




  ADVANCED DEGREE PROGRAMS STAFF

 The ADP oﬃce will handle the majority of your ques ons or concerns during your me at Berkeley.
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Evelyn Borchert, Associate Director
Evelyn advises LL.M. students on academic and administra ve ma ers. She also administers the J.S.D. program and can answer
any ques ons you have about the program and admission requirements.
    ● adpoﬃce@law.berkeley.edu / 510-642-1476
    ● Schedule an appointment with Evelyn through bCourses

Jodi L. Collova, Director of LL.M. Legal Research and Writing
Jodi coordinates the Legal Research and Wri ng (“LRW”) program for LL.M. students. She develops the curriculum and leads a
team of talented instructors who teach LRW. If you have any ques ons about the LRW program, please feel free to contact Jodi.
    ● jcollova@law.berkeley.edu
    ● 510 642-4205

Kara Ganter, Director of Communications and Program Development
Kara makes sure the world knows about our amazing programs. She makes sure our students get the informa on they need
before/while/a er they are here. She also helps Berkeley Law reﬁne our exis ng - and develop new - world-class advanced
degree and professional educa on programs. If you have some thoughts about these topics, you can reach Kara at:
    ● adpoﬃce@law.berkeley.edu


Sandra García, Administrative Assistant
Sandra runs the front desk at the ADP oﬃce and is responsible for overseeing our day-to-day administra ve processes. She can
help you make an appointment to see an advisor and answer any administra ve ques ons you may have.
   ●    adpoﬃce@law.berkeley.edu / 510-642-1476

Natalie Golden, Associate Director of Admissions and Student Services
Natalie handles all aspects of the admissions process.
  ●    adpoﬃce@law.berkeley.edu / 510-642-1476

Anya Grossmann, Director of Global Outreach and Professional Engagement
Anya advises LL.M. students on academic ma ers and provides career and professional development support. She also
collaborates with Deborah Schlosberg to organize workshops for our students on prac ce areas of interest and professional
skills. She also leads our outreach and recruitment eﬀorts. Prior to joining Berkeley Law, she worked as an associate a orney
at Gibson, Dunn & Crutcher LLP in New York.
     ● agrossmann@law.berkeley.edu / 510-642-1476
     ● Schedule an appointment with Anya through bCourses

Liza Jimenez, Associate Director of Student Services
Liza is your go-to person for student services. Liza is available to meet with you regarding your personal concerns, ideas for social
ac vi es, and other ma ers. She works with Anya Grossmann on the PALS program connec ng current LL.M. students and
alumni with prospec ve students, so please talk to her if you'd like to become an ambassador for Berkeley Law!
    ● lizaj@law.berkeley.edu / 510-642-1476
    ● walk in appointments available

Deborah Schlosberg, Director of Academic Planning and Advising
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Deborah advises LL.M. students on academic ma ers and provides career counseling support. She also collaborates with Anya
Grossmann to organize workshops focused on prac ce areas of interest and professional skills for our students. Before joining
Berkeley Law, she worked as an associate a orney at Arnold & Porter LLP and Howard Rice Nemerovski Canady Falk & Rabkin,
P.C. in San Francisco.
     ● adpoﬃce@law.berkeley.edu / 510-664-9877
     ● Schedule an appointment with Deborah through bCourses

Erin Weldon, Director of Admissions
Erin handles all aspects of the admissions process.
    ● adpoﬃce@law.berkeley.edu / 510-642-1476


Susan Whitman, Assistant Dean of Academic Planning and Coordination
Assistant Dean Whitman leads Berkeley Law’s LL.M. and J.S.D. programs, and oversees Berkeley Law’s J.D. and LL.M. curriculum.
She collaborates with Professor Rob Merges, the Faculty Director of the LL.M. and J.S.D. programs, and with Jodi Collova, the
Director of LL.M. Legal Research and Wri ng. Before joining Berkeley Law in 2008, Assistant Dean Whitman was the Associate
Probate Judge for Travis County (Aus n) Texas for 8 years, and for 15 years she ran the Elderlaw Clinic at the University of Texas
School of Law.
    ● swhitman@law.berkeley.edu/510-643-9566


Dr. Linda Zaruba, Staff Psychologist
Dr. Zaruba is Berkeley Law’s dedicated counselor. She is available to meet with you conﬁden ally to discuss any emo onal
stress you may be encountering. The stresses of moving to a completely new place can be eased by just si ng down and talking
to someone who cares; emergency situa ons are not the only reason to seek counseling.
     ● zaruba@berkeley.edu / 510-643-5447
     ● Schedule an appointment with Linda via email zaruba@berkeley.edu, or by phone 510-643-5447




 Appointments can be made through bCourses on the ADP Oﬃce bCourses page.

 If you have any technical problems please contact Sandra Garcia at 510-642-1476 or adpoﬃce@law.berkeley.edu.




 Berkeley Interna onal Oﬃce provides knowledge and exper se in advising, immigra on services, advocacy, and programming
 to the UC Berkeley campus community. The BIO oﬃce is your primary point of contact for ques ons regarding your visa status;
 ADP staﬀ are not permi ed to provide visa or immigra on advice.
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Services provided by BIO:

    ●   Advising support for nonimmigrant students

    ●   Visa document produc on for nonimmigrant students and scholars

    ●   A wide variety of programs and workshops

    ●   OPT forms

Drop-in Student Advising hours: 10-12am and 1-4pm (Monday - Friday) Berkeley Interna onal Oﬃce
2299 Piedmont Avenue Berkeley, CA 94720-2321
(510) 642-2818
Interna onalOﬃce@berkeley.edu h p://interna onaloﬃce.berkeley.edu




    510-845-1460
    286 Simon Hall
    www.berkeleylawshop.com and www.rentatext.com
    August 17-Aug 21 special hours: M-F 9am-5pm, books sold in the Goldberg Room

Berkeley Law's Bookstore is located in 286 Simon Hall and is open M-TR: 10am - 4.30pm and F: 10am – 3pm. In addi on to
selling and ren ng course materials, the bookstore stocks school supplies, commercial outlines, study aids, apparel and gi s,
as well as a small assortment of candy, snacks, and beverages.




The bookstore oﬀers new and used (when available) copies of all required and recommended books, for sale and for rent. On
average, a li le over half of the required tles are available to rent. The rental price on average is ~50% less than the new
textbook price. When ren ng for the ﬁrst me, you'll need to provide:

    ●   A telephone number

    ●   Email address

    ●   Government-issued photo ID

    ●   Branded credit or debit card to be used as collateral

Students are permi ed to take notes and highlight in rented books. We only ask that you don't cause any structural damage
(e.g., cracked spine, torn or missing pages, water damage, to name a few) to the books, as they are reused by your fellow
students.
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If, at any point during the semester, you decide that you want to keep any of your rented books, just pay the diﬀerence
between the rental and purchase price (new/used) and the book is yours. This policy also applies to books damaged or lost
during the rental period. A thorough explana on of the rental process can be found at rentatext.com

Ques ons? Please stop by the store and ask, or visit: berkeleylawshop.com

Financial Aid Office

The Berkeley Law Financial Aid Oﬃce can assist with ques ons about your bill or student loans. Please view the Frequently
Asked Ques ons for LL.M. students. If you s ll have ques ons, contact the Financial Aid Oﬃce:

E-mail: ﬁnancial-aid- law@berkeley.edu (response me typically 12-48 hours)
Phone: 510-642- 1563 (response me typically 12-48 hours)
In-person: Please schedule an appointment in advance when possible. 226 Boalt Hall




BCOURSES

bCourses is the online collabora on and learning environment at UC Berkeley. This site will include not only your course
websites, but orienta on informa on and videos, announcements from the ADP staﬀ and a link to make appointments with
career and academic advisors from the ADP oﬃce. We have your
@berkeley.edu emails associated with our “ADP Oﬃce - 2017 LL.M. Tradi onal/Thesis Track” bCourses page. To log in, go to
h ps://bcourses.berkeley.edu/ with your CalNet ID and passphrase. Please regularly check the ADP Oﬃce bCourses site for
important informa on such as academic resources, events, and links to campus services.




CalCentral is a website that allows you to manage class enrollment, billing, ﬁnancial aid, and student records, including
upda ng your contact informa on. It is important to always keep your current address updated in CalCentral. To log in, go to
h ps://calcentral.berkeley.edu/




Your Cal 1 Card is your oﬃcial campus ID. As a student, you'll use your Cal 1 Card several mes a day while you're on campus.
You'll use this card to sign in at libraries, ride free on local buses, and as a key card to access the Law Library and study
lounge.

You may go to the Cal 1 Card oﬃce, present your passport and your student ID number, and get your ID issued. You will also
receive an AC Transit EasyPass Clipper card with an electronic “Class Pass” that allows you to ride on any city bus (AC Transit)
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free of charge. Your class pass will be available by Wednesday, August 16 at the Cal 1 Oﬃce.

CAL 1 CARD OFFICE.
180 Cesar Chavez Center, Lower Sproul Plaza Monday-Friday, 9am-4:30pm
Phone: 510-643-6839
Email: cal1card@berkeley.edu

Financial Aid Office

The Berkeley Law Financial Aid Oﬃce can assist with ques ons about your bill or student loans. Please view the Frequently
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E-mail: ﬁnancial-aid- law@berkeley.edu (response me typically 12-48 hours)
Phone: 510-642- 1563 (response me typically 12-48 hours)
In-person: Please schedule an appointment in advance when possible. 226 Boalt Hall




Cal Student Central is your one-stop student services center for informa on on billing and payments.

120 Sproul Hall Monday-Friday, 9am-noon and 1-4pm
Phone: 510-664-9181
Online: h p://studentcentral.berkeley.edu/




Fall fees are billed in early August a er enrollment and due by August 18, 2017. Spring fees are due January 12, 2018. You will
receive an email when fees are assessed each semester.




You can view your fee details in CalCentral. To access your fee details:

    1. Go to calcentral.berkeley.edu

    2. Log in with your CalNet ID and passphrase

    3. Click on the My Finances tab

    4. Click on Details by Billing Summary Fall 2017




The Monthly Statement is not a bill, but will display ac vity that occurred during the previous month. You will receive an email
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when the Monthly Statement is generated.




e-Check: If you have a US bank account, you may choose to pay via e-Check. Log into CalCentral, select My Finances and
review the “Billing Summary Fall 2017” box. Click the “Make Payment” bu on to complete your payment transac on.

Credit Card: A 2.75% convenience fee applies to credit card payments. Log into CalCentral, select My Finances and review the
“Billing Summary Fall 2017” box. Click the “Make Payment” bu on to complete your payment transac on.

Foreign Funds: Students can pay their charges via Western Union Interna onal Funds Transfer (IFT). Log into CalCentral, select
My Finances and review the “Billing Summary Fall 2017” box. Click the “Make Payment” bu on to ini ate your wire payment
transac on. Quoted rates are valid for 72 hours.

Check: Payments by check or money orders must be issued in U.S. dollars, drawn on a U.S. bank, and made payable to “UC
Regents”. Be sure to include your Student ID number on the memo line of the check. Checks can be le at the drop box at the
entrance of University Hall on the 2199 Addison Street side, or mailed to:

University of California, Berkeley Payment Services
140 University Hall, MC #1111 Berkeley, CA 94720-1111

Cash payments are not accepted.

To see detailed payment op ons, go to: studentbilling.berkeley.edu/carsPaymentOp ons.htm




Enrolling in the Fee Payment Plan (FPP) allows for the fall and spring semester registra on fees to be paid in ﬁve monthly
installments. The deadline to enroll in the FPP is September 18th for fall and February 12th for spring. FPP enrollment is
established per semester.

A non-refundable par cipa on fee of $60 per semester will be due with the ﬁrst installment.

To enroll, log into CalCentral, select My Finances, and select the Fee Payment Plan. Review the installments, complete the
agreement, then save the installment schedule. Once enrolled, submit payment according to the installment schedule.

For more informa on on the FPP, including installment due dates, go to: h p://studentbilling.berkeley.edu/deferredPay.htm




If a sponsoring agency is paying your tui on and requires an invoice in their name before sending payment, you may
request a Third Party Contract. You will need to provide documenta on of the third party’s support in order for them to be
directly billed. Refer to the Third Party Contract site for more informa on:
h p://studentbilling.berkeley.edu/thirdpartycontract.htm
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  If the bill does not need to be in the third party's name, you can delegate access to an individual who can act on your
  behalf by paying bills, viewing academic informa on, etc. Students choose which
  privileges to delegate, and can change those privileges at any me. You can create or manage delegates at
  h ps://calcentral.berkeley.edu/proﬁle/delegate.




  Please plan for other non-tui on, non-housing related expenses including:

       ●   Regalia (the cap and gown you wear for the tradi onal gradua on ceremony) must be rented for an es mated fee
           of $75.00
       ●   Op onal Prac cal Training (OPT): there are costs associated with extending your visa a er gradua on. See
           h p://interna onaloﬃce.berkeley.edu/students/training/f-1/opt

       ●   Bar Exam Fees: Both the California and New York Bar examina ons have associated applica on and registra on fees.
           Barbri and other Bar Prepara on courses also have separate fees. We will review these fees at the Bar Examina on
           Workshops.

       ●   Entertainment: There will be many social student ac vi es to par cipate in and most require a fee for food and
           beverages.
     ●     Campus Parking: Student parking is available for an es mated fee of $377 per semester.
           h p://pt.berkeley.edu/parking/student-permits




Please note that the requirements for the California and New York Bar Exams are diﬀerent from and exceed the requirements for
obtaining your LL.M. degree.

LL.M. Traditional Track Requirements
   ●      All Berkeley Law tradi onal track LL.M. students must enroll in courses over one year or for two consecu ve academic
          year semesters. There are diﬀerent requirements for foreign-trained students versus students holding a J.D. degree in
          common law from a U.S. or Canadian law school.
For all tradi onal track students, coursework units that count toward the LL.M. degree include:
    ● Regular Law School-scheduled courses (see list below for ineligible coursework units)
    ● A maximum of 2 units for par cipa ng in a maximum of 1 independent research and wri ng project (Law 299)
    ● A maximum of 2 units for par cipa on in a maximum of 1 group research and wri ng project (Law 298)
    ● A maximum total of 1 unit for par cipa on in a journal
    ● Prac ca, prac ce projects, or ﬁeld placements in which the work of the student is supervised by a faculty member at the
          Law School, including units earned through a seminar course associated with a prac cum or ﬁeld placement. A list of
          prac ca that count toward the degree requirements is available on the ADP Oﬃce bCourse site.
For all tradi onal track students, units that do not count toward the LL.M. degree include:
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     ●   Individual research projects (Law 297)
     ●   Teaching pedagogy coursework (Law 275P)
     ●   Courses taken outside of the Law School (non-law units)
     ●   Prac ca, prac ce projects, or ﬁeld placements in which the work of the student is not supervised primarily by a faculty
         member at the Law School

Following are the requirements for the two categories of students in the LL.M. tradi onal track:
    1. Foreign-trained students
    2. U.S. or Canadian students with a J.D. in common law

1.   Foreign-trained students must:
        a. Complete a minimum of 21 units;
        b. Enroll in a minimum of 10 units and a maximum of 16 units per semester;
        c. Complete the 3 unit Fundamentals of U.S. Law class (fall semester); and
        d. Fulﬁll the LL.M. Capstone Wri ng Requirement by comple ng the 2 units of Legal Research and Wri ng class (fall
             semester - can be either Academic-track or regular LRW).

             ➢ Students who have a law degree from a university in which the course of study involved common law principles
               and was taught in English may ﬁle a Request to Waive LL.M. Legal Research and Wri ng by the end of the ﬁrst
               week of classes. The Director of Legal Research and Wri ng shall administer a legal analysis and wri ng exam for
               all pe oners, and shall waive the course requirement only for those pe oners demonstra ng mastery of the
               exam as determined by the Director of Legal Research and Wri ng. Those students who are granted a waiver for
               Legal Research and Wri ng must fulﬁll the Capstone Wri ng Requirement by comple ng a paper of 15-20 pages in
               length in any class or through an independent study (Law 299), and submit an LL.M. Capstone Wri ng
               Requirement Fulﬁllment form to the Registrar’s oﬃce prior to the spring semester Add/Drop Deadline.



3.   Students holding a J.D. from a U.S. or Canadian law school (common law course of study) must:
        a. Complete a minimum of 21 total units;
        b. Enroll in a minimum of 10 units and a maximum of 16 units per semester; and
        c. Fulﬁll the LL.M. Capstone Wri ng Requirement by comple ng a paper of 15-20 pages in length in any class or through
            an independent study (Law 299), and submit an LL.M. Capstone Wri ng Requirement Fulﬁllment form to the
            Registrar’s oﬃce prior to the spring semester Add/Drop Deadline.


LL.M. Thesis Track Requirements
     ●   All Berkeley Law thesis track LL.M. students must enroll in courses over one year or for two consecu ve academic year
         semesters. There are diﬀerent requirements for foreign-trained students versus students holding a J.D. degree in common
         law from a U.S. or Canadian law school.

For all thesis-track students, mandatory coursework includes:
    ● Legal Research and Wri ng for Thesis Track LL.M.s class (2 units, fall semester)
    ● 325A Fall Thesis Track Independent Study (4 units, fall semester)
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      ●    325B Spring Thesis Track Independent Study (4 units, spring semester)

Addi onal coursework units that count toward the LL.M. degree include:
   ● Regular Law School-scheduled courses (see list below for ineligible coursework units)
   ● A maximum of 2 units for par cipa on in a maximum of 1 group research and wri ng project (Law 298)
   ● A maximum total of 1 unit for par cipa on in a journal
   ● Prac ca, prac ce projects, or ﬁeld placements in which the work of the student is supervised by a faculty member at the
       Law School, including units earned through a seminar course associated with a prac cum or ﬁeld placement. A list of
       prac ca that count toward the degree requirements is available on the ADP Oﬃce bCourse site.

Units that do not count toward the LL.M. degree for thesis track students include:
    ● Independent study that is not part of the thesis (Law 299)
    ● Individual research projects (Law 297)
    ● Teaching pedagogy coursework (Law 275P)
    ● Courses taken outside of the Law School (non-Law units)
    ● Prac ca, prac ce projects, or ﬁeld placements in which the work of the student is not supervised primarily by a faculty
        member at the Law School

Following are addi onal requirements for the two categories of thesis-track students:
    1. Foreign-trained students
    2. U.S. or Canadian students with a J.D. in common law

1.     Foreign-trained thesis track students must:
          a. Complete a minimum of 21 total units;
          b. Enroll in a minimum of 10 units and a maximum of 16 units per semester;
          c. Complete the 3 unit Fundamentals of U.S. Law class (fall semester);
          d. Fulﬁll the LL.M. Capstone Wri ng Requirement by comple ng an original thesis in the form of a substan al research
              and wri ng project that is of publishable quality and roughly 50-60 double-spaced pages. The thesis paper is due by
              the end of the spring semester.

4.     Thesis track students holding a J.D. from a U.S. or Canadian law school (common law course of study) must:
          a. Complete a minimum of 21 total units;
          b. Enroll in a minimum of 10 units and a maximum of 16 units per semester;
          c Fulﬁll the LL.M. Capstone Wri ng Requirement by comple ng an original thesis in the form of a substan al research
               and wri ng project that is of publishable quality and roughly 50-60 double-spaced pages by the end of the spring
               semester.


     CAPSTONE WRITING REQUIREMENT
     There are four ways for students to fulﬁll the mandatory LL.M. Capstone Wri ng Requirement:

          1. Taking Legal Research & Wri ng (LRW) for LL.M. Students
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    2. Submi ng a thesis and comple ng 8 units of 325A/325B (thesis track students)

    3. Wri ng a paper 15 - 20 pages or longer through a 299 independent study course (tradi onal track U.S. or Canadian
       (common law) JD graduates only - must be documented by submi ng the Capstone Fulﬁllment form by the Spring
       Semester Add/Drop Deadline)

    4. Taking a course which requires a paper 15 pages or longer (tradi onal track U.S. or Canadian common law JD
       graduates only - must be documented by submi ng the Capstone Fulﬁllment form to the Registrar’s oﬃce by the
       Spring Semester Add/Drop Deadline)

Interna onal students must fulﬁll the Capstone Wri ng Requirement by taking LRW (tradi onal track) or comple ng a thesis
(thesis track). Students holding a U.S. or Canadian (common law) JD must submit the LL.M. Capstone Wri ng Requirement
Fulﬁllment Form in the Registrar’s Oﬃce no later than the Spring Semester add/drop deadline. Interna onal students do not
need to complete this form if they complete LRW or a thesis.

FINAL EXAMS
At Berkeley Law each faculty member has discre on over his or her exams. The possible exam types are:

    1. Mul ple choice

    2. Essay

    3. A combina on of mul ple choice and essay (“mul -modal”)

    4. A ﬁnal paper or series of papers

    5. A combina on of the above

Exams may be given in class or oﬀered as a take-home. In order to preserve anonymous grading, each semester you will be given
an exam number to use in lieu of your name on all of your exams.

The instructor has the authority to refuse permission for you to take the ﬁnal examina on if you fail to a end class regularly.

You will receive instruc on on how to successfully take law school exams in your Fundamentals of US Law course.

FINAL EXAMINATION SCHEDULE
The Fall 2017 ﬁnal exam period is Dec. 6-15, Wednesday - Friday (Sat. Dec. 9 is a regular exam day). The Spring 2018 ﬁnals period
is April 30-May 9, Monday-Wednesday (Sat. May 5 is a regular exam day).
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Each semester, you can see the overall in-class ﬁnal exam schedule here:
h p://www.law.berkeley.edu/php-programs/students/examTimesList.php. Take-home exams are self- scheduled during the
ﬁnals period, but your answer must be uploaded to the online exam interface before the end of the ﬁnals period.

For each of your exams (in-class or take-home), you will use the online exam interface:
h p://www.law.berkeley.edu/php-programs/students/exams/index.php. This can also be found by going to
law.berkeley.edu, clicking “For Students” and then “Exams.” You will be asked to log-in with your CalNet ID. This webpage
includes:

    1. your exam number, to be used on each exam in lieu of your name

    2. your classes

    3. your individual exam schedule

    4. the links to download and upload your exams

    5. in the event any of your exams are rescheduled (see below), you will see the reschedule informa on on this
       website as well, as it becomes available


Exams are never rescheduled to accommodate travel plans, employment, or other personal obliga ons. An individual
student’s in-class ﬁnal exam will be rescheduled only if a student has:

    1. Two in-class ﬁnal exams scheduled for the same exam period;

    2. Two in-class ﬁnal exams scheduled for two consecu ve exam periods (e.g., two exams on the same day, or one
       exam in the a ernoon and another the following morning); or

    3. Three in-class ﬁnal exams scheduled on three consecu ve days.

Although students may indicate a preference as to which exam is rescheduled, rescheduling decisions will be made at the
discre on of the Dean of Students and the Director of Student Services, Kyle Valen . You will be automa cally contacted by
email about one month before exams if one or more of your individual exams have been rescheduled due to one of the
reasons listed above.

Please contact Kyle Valen at kvalen @law.berkeley.edu for exam-related ques ons. Rescheduled exams will not be given
earlier than the original exam date.




A separate mandatory curve applies to all LL.M. and J.S.D. students in classes and seminars with 11 or more LLM and J.S.D.
students such that 20% of the LL.M. and J.S.D. students receive High Honors, 30% receive Honors, and 50% receive Pass. The
same curve is recommended for LL.M. and J.S.D. students in classes and seminars with 10 or fewer LL.M. and J.S.D. students.
A professor can deviate from the curve in any size class if he or she believes that a Pass-Condi onal or No-Credit is the
appropriate grade for a student.
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Tradi onal track students who seek in-depth training are able to earn Cer ﬁcates of Specializa on in Business Law, Law and
Technology, Interna onal Law, Energy & Clean Technology, Environmental Law, and Public Interest and Social Jus ce. The
specializa on appears on a separate cer ﬁcate, as well as on your transcript, but not on your degree. Your degree is a general
Master of Laws (LL.M.).

Please visit this webpage for the most up-to-date informa on on cer ﬁcate requirements:
h ps://www.law.berkeley.edu/academics/llm/tradi onal-llm/cer ﬁcates-of-specializa on/

Ques ons regarding cer ﬁcates should ﬁrst be directed to the administrators of those cer ﬁcates. The ADP office cannot
make exceptions to the certificate requirements.




Tradi onal track LL.M. students may qualify to sit for either the New York or California bar examina ons. Every year more of our
LL.M. students takes one of these exams as bar membership in a U.S. jurisdic on has become more of an interna onal
creden al. While bar membership is not always necessary for short-term employment opportuni es in the United States, our
students o en ﬁnd that a U.S. bar creden al improves their professional development prospects in their home countries while
also preserving the opportunity to prac ce law in the United States at some point in the future.

Both the New York and the California bar examina ons are oﬀered twice yearly, beginning on the last Tuesday of both February
and July.

Beyond passing the bar examina on, admission to both the New York and the California bars requires a moral character
background check, plus sa sfactory performance on the independent Mul state Professional Responsibility Examina on
(MPRE), described below. Admission to the New York Bar also requires proof of comple ng 50 hours of pro bono service, an
on-demand online course on New York law (New York Law Course), and a mul ple choice test on New York law (New York
Law Examina on).

The ADP oﬃce will oﬀer workshops to guide you through both the New York and the California pre- qualiﬁca on process for
foreign candidates. For most of our students, there are coursework requirements to become eligible to take the New York
and/or California Bar Exams. We can advise you on course selec ons, as necessary, to meet each state’s requirements and on
courses that may help you to prepare and succeed on these examina ons.



http://www.nybarexam.org

Candidates interested in si ng for the New York Bar should carefully review Sec on 520.6 of the Rules of the Court of Appeals
for the Admissions of A orneys and Counselors at Law at the New York Board of Law Examiners (NY BOLE) website:
h p://www.nybarexam.org/Foreign/ForeignLegalEduca on.htm.

All prospec ve NY Bar applicants who received their undergraduate legal educa on outside the United States must follow
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two essen al steps to ensure that their pre-Bar legal educa on is substan vely and dura onally equivalent to a U.S. juris
doctor (law) degree:

    1. Complete and submit the Online Foreign Evalua on Form (h ps://www.nybarapply.org/feval/) and required
       suppor ng documenta on, preferably at least one year before si ng for the Bar examina on (but no later than
       October 1, 2016 for the July 2017 exam).

    2. If the NY BOLE requires you to “cure” either a substan ve or dura onal deﬁciency in your foreign legal educa on
       prior to taking the Bar, you must obtain an LL.M. degree and complete certain required coursework.

                    a. You must take 24 units of NY BOLE-approved classroom courses at an American Bar Associa on
                       (ABA)-accredited law school in substan ve and procedural law and professional skills.

                    b. For concrete guidance regarding the course oﬀerings at Berkeley Law that will sa sfy these
                       requirements, consult the “New York Bar Examina on Worksheet” which is available on bCourses.

Please note that candidates seeking admission to the New York bar must also sa sfy a 50-hour “pro bono” requirement prior
to Bar admission. We have conﬁrmed that this work may be done outside the United States, provided that it is ac vely
supervised by an a orney licensed in the jurisdic on in which the work is conducted. Pro bono work done up to a year prior to
the commencement of your LL.M. studies may count, and the requirement must be met before you will be admi ed to the
Bar. For further informa on, see h p://www.nycourts.gov/a orneys/probono/baradmissionreqs.shtml

The New York bar also requires the successful comple on of the New York Law Course (NYLC) and the New York Law Exam
(NYLE). The NYLC is comprised of approximately 15 hours of on-demand videos with embedded ques ons on New York law.
The NYLE is a 50 ques on, two-hour, mul ple-choice test, oﬀered four mes a year on the informa on taught in the NYLC.
Both the NYLC and NYLE must be completed before reques ng admission to the New York bar. For more informa on, please
see h p://www.nybarexam.org/Content/CourseMaterials.htm.



h p://admissions.calbar.ca.gov/

The pre-qualiﬁca on process for the California bar exam diﬀers from New York in that a orneys licensed in jurisdic ons
outside the United States (“A orney Applicants”) need only submit a cer ﬁcate of proof of admission in that jurisdic on to
the Sec on Chief of Eligibility at the California Bar’s Oﬃce of Admissions in order to qualify to sit for the exam.
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See h ps://www.calbar.ca.gov/Admissions/Requirements/Educa on/Legal-Educa on/Foreign-Educa on

LL.M. candidates who are not admi ed to prac ce in any jurisdic on may qualify as “General Applicants” to sit for the
Bar exam, provided that they:

    1. Have a ﬁrst degree in law, acceptable to the Commi ee, from a law school in the foreign state or country and have
       completed a year of legal educa on at an ABA-approved law school or a California accredited law school in subjects
       tested on the California Bar. See
       h p://www.calbar.ca.gov/Admissions/Requirements/Educa on/Legal-Educa on/Foreign-Educa on/Foreign-Educat
       ed-A orneys

                    a. Such General Applicants must obtain from a creden al evalua on service approved by the Commi ee
                       a cer ﬁcate that the applicant’s ﬁrst degree in law is substan ally equivalent to a juris doctor degree
                       awarded by a law school approved by the ABA or accredited by the Commi ee; or

                    b. Obtain from a creden al evalua on service approved by the Commi ee a cer ﬁcate that the
                       applicant’s ﬁrst degree in law meets the educa onal requirements for admission to prac ce law in
                       the foreign state or country in which it was obtained.

    2.   In addi on to submi ng to the Oﬃce of Admissions the cer ﬁcate required above, the General Applicant must
         submit a cer ﬁcate from the ABA-approved law school (or school accredited by the Commi ee) cer fying that
         the applicant has:

                    a. Been awarded a Master of Law degree (LL.M.) based on a minimum of 20 semester or equivalent units
                       of legal educa on that included a minimum of one course in four separate subjects tested on the
                       California Bar of not less than a total of 12 semester or equivalent units (one of which must be
                       Professional Responsibility that covers the California Rules of Professional Conduct, relevant sec ons
                       of the California Business and Professions Code, the ABA Model Rules of Professional Conduct, and
                       leading federal and state case law on the subject); or

                    b. Successfully completed 20 semester or equivalent units of legal educa on that included a minimum of
                       one course in four separate subjects tested on the California Bar of not less than a total of 12
                       semester or equivalent units (one of which must be Professional Responsibility that covers the
                       California Rules of Professional Conduct, relevant sec ons of the California Business and Professions
                       Code, the ABA Model Rules of Professional Conduct, and leading federal and state case law on the
                       subject).
For concrete guidance regarding the course oﬀerings at Berkeley Law that will sa sfy California’s requirements, consult the
“California Bar Examina on Worksheet” on bCourses.



Admission to the New York or California bar entails a successful “background check” of your personal and professional history.

In New York, this process is called “Character and Fitness” and the process begins a er an applicant passes the bar exam. For
reference, consult h p://www.nybarexam.org/Admission/AdmissionMul DeptPacket.htm. Prior to bar admission the
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candidate must also a end a personal interview in New York.

The California process is called a “Moral Character Determina on” and applicants may complete a form after registering with
the State Bar of California. It may be completed either before or a er taking the bar exam: see
h p://www.calbar.ca.gov/Admissions/Moral-Character

The state encourages applicants to ﬁle the form as soon as possible, as it can take up to 6 months to process the data,
however, it is an expensive applica on so students who may not need California bar membership to prac ce may decide to
wait on submi ng their Moral Character applica on un l a er they learn whether or not they pass the bar exam. No personal
interview is required.

Please be advised that any misconduct that takes place while you’re a student at Berkeley Law, including any violations of the
Honor Code, is reportable to the relevant state bar and may prevent you from being admitted.




h p://www.ncbex.org/exams/mpre/

Admission to both the New York and California Bars require sa sfactory performance on the MPRE. The MPRE is a two-hour
exam with 60 mul ple-choice ques ons and it may be taken prior to or a er taking the Bar exam.

The MPRE is given three mes annually in the Spring, Summer, and Fall. The dates and deadlines for registra on for 2017-2018
are found at the below link:

h p://www.ncbex.org/exams/mpre/registra on/

The foregoing provides a basic overview of the pre-qualiﬁca on requirements for Berkeley Law’s Tradi onal Track LL.M.
candidates to sit for and be admi ed to the New York or California bars. We will provide further guidance through speciﬁc bar
workshops this year and recommend that you prac ce your own due diligence in inves ga ng the requirements for bar
admission if you are interested in joining the State Bar of California or New Yorl.




Academic policies may change during the course of the school year. To ensure you have the most recent informa on about
Berkeley Law academic policies, please visit the 2017-2018 bCourses page.



Does Berkeley Law have academic rules?
Yes! You can ﬁnd the Academic Rules here: Academic Rules These rules cover class a endance, independent and
faculty-supervised research, wri ng, and study (297, 298, and 299 units), the Honor Code and disqualiﬁca on, exam
administra on and requests for accommodated exams, and other rules not in conﬂict with LL.M.-speciﬁc degree requirements
and policies.
How many units do I need to graduate?
21 units.
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What is the minimum number of units I must take each semester?
10 units. If you want to take fewer than 10 units in a semester you must complete an Academic Rules Pe on
(h ps://www.law.berkeley.edu/wp-content/uploads/2015/04/AcadRulesPet_LLM_revised6-14-1.pdf). Please pick up,
complete, and submit this pe on to the Registrar’s Oﬃce in 270 Simon Hall. The ADP Oﬃce will review your request and
may request to meet with you. Please note that interna onal students cannot enroll in fewer than 8 units per semester
without compromising their visa status.

What is the maximum number of units I can take each semester?
16 units without an Academic Rules Pe on, and 17 units with an approved Academic Rules Pe on. If you wish to take 17
units, please complete an Academic Rules Pe on
(h ps://www.law.berkeley.edu/wp-content/uploads/2015/04/AcadRulesPet_LLM_revised6-14-1.pdf) and drop it oﬀ at the
Registrar’s Oﬃce in 270 Simon Hall. The ADP Oﬃce will review your request and may request to meet with you.

Can I audit (sit in) a course without enrolling in it?
You may audit a course with the professor's permission, unless the course is full. Academic credit is not given for audited
courses, and they will not appear on your transcript.

How do I enroll in courses?
CalCentral is the online registra on system students use to enroll in classes. The deadline to add/drop courses online through
CalCentral is 11:59pm on September 1st.

Can I add/drop courses after the CalCentral add/drop deadline?
A er the CalCentral add/drop deadline of September 1st you can use an Add/Drop Pe on available in the Registrar’s Oﬃce.
That form will need to be signed by the instructor of the class you are adding or dropping. The instructor can refuse to sign
the Add/Drop Pe on, so we encourage you to add/drop courses prior to September 1st. The last day to add or drop courses
using an Add/Drop Pe on is September 22nd.

Can I take a course with the same title or course number (e.g. 202F Contracts) more than once?
No. This includes courses with the same tle, but with diﬀerent units and taught by diﬀerent professors, in diﬀerent semesters.

Can I take a course that has an overlap in time with another course?
No. Even if a course overlaps with another course by only a few minutes, you may not enroll in both courses. This is a
requirement of the American Bar Associa on.

How do I know what courses will be offered this Spring?
Before the course schedule is published online, you can check the 2-Year Curriculum Plan
(h ps://www.law.berkeley.edu/php-programs/registrar/2yearCurriculumView.php) to see what courses are being planned for
future semesters.

How can I look up teaching evaluations for courses or for professors?
Evalua ons for courses and professors are accessible to students online at
h p://www.law.berkeley.edu/php-programs/tevals/courseSearch.php You can search by professor or course name.

How do students evaluate courses?
All students at Berkeley Law have the opportunity to evaluate their instructors during the last two weeks of each semester. The
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evalua ons are completely anonymous with respect to your professor. Our online course evalua ons give the students, the
instructors, and the administra on valuable feedback about our courses and instructors. Instructors use your evalua ons to
improve their teaching, the administra on uses your evalua ons to iden fy successful teachers and to provide support for
those who are struggling in the classroom, and your fellow students use evalua ons to choose their
classes. Each semester, more than 80% of our students submit evalua ons in all of their classes. We look forward to your
par cipa on in this important school-wide ac vity.

Is class attendance mandatory?
Yes. Academic Rule 7 requires regular and punctual class a endance in order to receive course credit. Each individual faculty
member has the discre on to announce more speciﬁc and/or restric ve a endance requirements than this at the beginning of
the semester. Please review the syllabus for each course and familiarize yourself with the a endance policy. If the syllabus
does not address a endance, please ask the instructor for clariﬁca on.

When, in the opinion of an instructor, a student enrolled in his or her course has failed to make a good faith eﬀort at regular
and punctual class a endance and, a er reasonable warning and opportunity to make up and/or correct the deﬁciencies,
con nues to fail to make a good faith eﬀort, the instructor may, in his or her discre on, take one of the following steps:
  1) request (in agreement with the Dean of Students) that the student be dropped from the class,
  2) reduce the student’s ﬁnal grade, or
  3) assign the student a ﬁnal grade of NC or NP

How do I know whether courses have prerequisites?
The course descrip on for each course notes if there are prerequisites.

Can LL.M. students work during the program?
Most campus jobs are work study posi ons limited to undergraduates, so LL.M. students who wish to work usually try to ﬁnd
research assistant posi ons within the law school. These posi ons are quite limited in number and o en depend on the
student’s experience and interest aligning with the professor’s area of research. Students may contact faculty members
directly to inquire, or check b-line for these posi ons. Students studying on a visa should consult the Berkeley Interna onal
Oﬃce regarding the ability to work.

Where can I find my final exam schedule?
Each semester, you can see the overall in-class ﬁnal exam schedule here:
h ps://www.law.berkeley.edu/php-programs/students/exams/examTimesListFall.php

IMPORTANT NOTE: exam schedules may change up un l the day before the exam. Do not book air travel un l the end of the
en re examina on period for the semester.

Can I take a course outside of the law school?
Yes. However, not all courses outside of the law school are open to law students. Diﬀerent departments outside of the law
school have diﬀerent enrollment rules and may only allow their own students to enroll in certain courses. The units you
receive for a course outside of the law school will not be
counted toward your degree requirements, but will count toward your per semester minimum and maximum allowed units. The
grading system for courses outside of the law school is governed by the department oﬀering the course. Your grade in that
course will be reﬂected in your transcript.
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GRADING
Are LL.M. students graded on a curve?
A separate mandatory curve applies to all LL.M. and J.S.D. students in classes and seminars with 11 or more LL.M. and J.S.D.
students such that 20% of the LL.M. and J.S.D. students receive HHs, 30% receive Hs, and 50% receive Ps. The same curve is
recommended but not required in classes and seminars with 10 or fewer LL.M. and J.S.D. students. LL.M. students are never
graded on the same curve as J.D. students. A professor can deviate from the curve in any class if he or she believes that a PC
or NC is the appropriate grade for a student.

Can I change the grading option in a course?
No. The grading op on for a course is set by the instructor, and students don’t have the ability to alter their grading op on.

Do LL.M. students ever get PC or NC grades?
Yes, if the professor feels that your performance does not warrant a “Pass” or be er, you can receive a grade of PC or NC. A PC
(Pass-Condi onal) grade means that your performance was “substandard,” but you s ll receive credit towards your degree for
the course. An NC (No-Credit) grade means that you do not receive credit for the course.

What is the Honor Code and why is it important?
The Honor Code is an important tradi on at Berkeley Law, and it governs the conduct of students during examina ons and in
all other academic and professional ac vi es. Students may inadvertently violate the Honor Code by insuﬃciently ci ng
sources when wri ng (plagiarism) or not strictly following exam instruc ons. Viola on of the Honor Code can have
consequences ranging from failing a class to being reported to the state bar authori es and having the viola on noted on
your transcript. Please carefully review the Honor Code at h ps://www.law.berkeley.edu/academics/registrar/academic-
rules/academic-honor-code/

If you have ques ons about the Honor Code, your advisors are available to respond.

CAPSTONE WRITING REQUIREMENT
How do I fulfill the LL.M. Capstone Writing Requirement?
There are four ways for students to fulﬁll the LL.M. Capstone Wri ng Requirement:

            1. Taking Legal Research & Wri ng (LRW) for LL.M. Students

            2. Submi ng a thesis as part of the thesis track

            3. Wri ng a paper 15 pages or longer through a 299 independent study course

            4. Taking a course which requires a paper 15 pages or longer.

Interna onal students must fulﬁll the Capstone Wri ng Requirement by taking LRW or the thesis track. Students holding a
U.S. or Canadian JD degree in common law who sa sfy the requirement through op ons 2-4 above must complete the LL.M.
Capstone Wri ng Requirement Fulﬁllment Form in the Registrar’s Oﬃce by the Add/Drop deadline of the Spring Semester.
Interna onal Students do not need to complete this form.
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What is the difference between 299 Independent Study and a thesis?
Thesis track LL.M. students conduct a substan al research and wri ng project called a thesis. This track is appropriate for
students considering academic or government careers, or those interested in researching a par cular subject in depth. Thesis
track students complete 8 units of independent study (4 units of 325A in the fall and 4 units of 325B in the spring) and a
50-60 page paper is due at the end of the year. Thesis students take fewer courses than students who choose the tradi onal
track; for this reason it can be diﬃcult to qualify for a bar exam or earn a cer ﬁcate when pursuing the thesis track.

Students in the Tradi onal Track who want the experience of working on an independent research and wri ng project can take
one 299 independent study course for a maximum of two units. A 15-30 page paper is due at the end of the semester in which
the 299 course is taken.

A 299 requires ac ve supervision by a faculty member. Talk to an advisor if you are interested in pursuing a 299.

Are independent study courses graded?
325A & 325B (thesis track independent study) are pass/fail. Your transcript will indicate CR for credit or NC for no credit. 299s
can be taken either pass/fail or for a le er grade.

How can I find a 299 advisor?
Research faculty members who have exper se in your area of interest. Faculty proﬁles are featured in the Berkeley Law website.
You may also browse the online Schedule of Classes to see which faculty members teach courses in subjects related to your
chosen research topic. Once you have iden ﬁed appropriate faculty members, email them to introduce yourself and your
proposed topic, and ask if they are willing to supervise your project.

How do I enroll in thesis units?
Thesis track students should submit the Add/Drop form with 325A signed by your faculty advisor to the Registrar’s oﬃce no
later than September 1st. Your advisor must sign the form. Indicate on the form that you wish to enroll in 4 units of 325A
(ungraded) with your advisor. In the spring, use the same form to enroll in 4 units of 325B (ungraded) with your advisor before
the spring semester add/drop deadline.

How do I enroll in a 299 Independent Study course?
Tradi onal track students should submit an LLM 299 Add Pe on to the Registrar’s oﬃce no later than the last day to add or
drop courses for the semester. Your advisor must sign the form. You may take one 299 independent study course for a
maximum of two units during the course of the year. Thesis track students may not take 299s; all units in addi on to 325A/B
must come from actual courses.
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When is the thesis due and how should it be submitted?
A near-to-ﬁnal dra of your paper should go to your advisor by early April, so that you will have me to receive feedback and
incorporate any changes before the ﬁnal paper is due. The ﬁnalized version of your paper must be submi ed by the last day of
the Spring semester. Ask your advisor if he or she would prefer a hard or electronic copy. Please also submit an electronic copy
to the ADP oﬃce via email to adpoﬃce@law.berkeley.edu.

JOURNALS
Can I get credit for working on journals?
A total of one journal credit can count towards your LL.M. degree (regardless of how many journal units in which you enroll).

How do I enroll in journal credits?
Prior to the add/drop deadline, obtain the Course Number from the journal editor and enroll yourself online.




Where can I find information about the Certificates of Specialization?
Informa on about Cer ﬁcates of Specializa on for LL.M. students can be found online at
h ps://www.law.berkeley.edu/llm-jsd/tradi onal-llm/cer ﬁcates-of-specializa on/

Will the Certificate of Specialization appear on my diploma?
No. The Cer ﬁcate of Specializa on is not noted on the LL.M. diploma.

Will the Certificate of Specialization appear on my transcript?
Yes.

I am taking LRW, does that fulfill the Business Law Certificate’s writing requirement?
Yes, the LRW course is designed to fulﬁll the wri ng requirement for the Business Law Cer ﬁcate.

Does the LRW course satisfy the writing requirement for any other certificate?
No.

Can I get more than one certificate?
There are no restric ons on the number of Cer ﬁcates students may earn, but course scheduling usually prohibits earning more
than one. You should also keep in mind that earning more than one cer ﬁcate may not necessarily improve your career proﬁle
as some employers may perceive dual cer ﬁcates, if unrelated, to dilute the other. If you have ques ons about this, please make
an appointment with an academic advisor through bCourses.

Can I fulfill the requirements for the California/NY Bars and obtain one of the certificates?
It may be possible, but course scheduling o en prohibits sa sfying the requirements for both.




I want to apply for the J.S.D. program after my LL.M. Can I be admitted if I am a traditional track student?
Many students admi ed to the J.S.D. program chose the thesis track LL.M., but it is not a requirement for admission. It can be
a good way to start building a rela onship with a future J.S.D. disserta on advisor. A suppor ve J.S.D. disserta on advisor is
an element of the J.S.D. applica on process.
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How do I learn more about the J.S.D. Program?
General inquiries can be emailed to adpoﬃce@law.berkeley.edu. You can also meet with Evelyn Borchert in the ADP Oﬃce,
who administers the J.S.D. program, by making an appointment with her through bCourses.




I received an email about filing a tax return. Are LL.M. students required to file taxes?
It depends. The Berkeley Interna onal Oﬃce has resources and workshops to help you understand whether you have to ﬁle
taxes. More informa on is online at h p://interna onaloﬃce.berkeley.edu/tax-repor ng

How long will I have access to my Berkeley email account and library services after I graduate?
You will be able to keep your @berkeley.edu email address and account a er gradua on. Please look out for an email
detailing the process required. You can extend your Law Library borrowing privileges un l the end of July by emailing
circadmin@law.berkeley.edu. Remote access to library databases (proxy server) and borrowing from other campus libraries
will be available un l August.
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Berkeley Law’s tradi onal track LL.M. students enjoy a broad range of career-related services and events. We strongly believe
that your LL.M. creden al will play an important role in your career advancement. In par cular, LL.M. candidates have several
advantages in terms of job-seeking: language skills; a demonstrated focus on a par cular area of the law; and a global
network of
connec ons. Although we do not func on as a job placement service, we will provide you with resources, training, and
tailored advice that will support you in promo ng your background and skills to employers in the United States and abroad.

First and foremost, our students can consult with our LL.M. career counselors: Anya Grossmann and Deborah Schlosberg. We
will advise you on your individual professional development strategies and goals. We can also review your resumes and cover
le ers, conduct mock interviews, and serve as a strategic liaison to employers.

Throughout the year, we will present LL.M. career workshops on:

    ●   Resume and cover le er wri ng;

    ●   Job search strategies for law ﬁrm and public interest opportuni es;

    ●   Interviewing skills;

    ●   Networking ps, including strategic use of LinkedIn; and

    ●   Prac ce-speciﬁc panels (driven by student interest)

You can read more about our services at h ps://www.law.berkeley.edu/academics/llm/career- development/

In addi on, you have access to a number of career-related resources developed for Berkeley Law LL.M. job seekers. All of our
career-related content is located on bCourses.

As a Berkeley Law student, you also have access to b-Line, our online job database. There is a link on the “For Students” sec on
of the main Berkeley Law website. Use the “cdo” username and “cdoaccess” password to access the CalNet ID login screen.

Finally, our interna onal LL.M. students may par cipate in the Interna onal Student Interview Program in New York (late
January). Students must apply for interviews and are selected depending on employer preference. Deborah and Anya will
guide interested students through the applica on process in the Fall. We look forward to providing the services that will help
you navigate your career path.



The University of California at Berkeley is a community of scholars commi ed to maintaining an environment that
encourages personal and intellectual growth. It is a community with high standards and high expecta ons for those who
choose to become a part of it, including established rules of conduct intended to foster behaviors that are consistent with a
civil and educa onal se ng. Members of the University community are expected to comply with all laws, University policies
and campus regula ons, conduc ng themselves in ways that support a scholarly environment. Refer to this link below for
more speciﬁc informa on about Berkeley’s Campus Code of Student Conduct:
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h p://sa.berkeley.edu/sites/default/ﬁles/UCB-Code-of-Conduct-new%20Jan2012_0.pdf




The University of California is commi ed to crea ng and maintaining a community dedicated to the advancement,
applica on and transmission of knowledge and crea ve endeavors through academic excellence, where all individuals who
par cipate in University programs and ac vi es can work and learn together in an atmosphere free of harassment,
exploita on, or in mida on. Every member of the community should be aware that the University prohibits sexual violence
and sexual harassment, retalia on, and other prohibited behavior (“Prohibited Conduct”) that violates law and/or University
policy. The University will respond promptly and eﬀec vely to reports of Prohibited Conduct and will take appropriate ac on
to prevent, to correct, and when necessary, to discipline behavior that violates this policy.




Berkeley Law is commi ed to suppor ng anyone who has experienced any form of harassment or discrimina on that
impedes one’s right to a safe work or learning environment. Sexual Harassment includes unwelcome sexual advances,
unwelcome requests for sexual favors, and other unwelcome verbal, nonverbal or physical conduct of a sexual nature.

The university provides the following resources for students who believe they have experienced or witnessed sexual
harassment, or who have concerns about a poten al issue:

Berkeley Law Resources to Respond to Sexual Harassment https://www.law.berkeley.edu/harassment/

University of California Sexual Harassment and Violence Policy http://policy.ucop.edu/doc/4000385/SVSH

Office of Prevention of Harassment and Discrimination https://ophd.berkeley.ed

Sexual Harassment & Violence Survivor Support http://survivorsupport.berkeley.edu/




The University of California requires mandatory training for all students, faculty and staﬀ in Sexual Violence/Sexual
Harassment Preven on. Refer to the email you received from UC Berkeley’s Graduate Division about online training and
in-person training, both of which are required in order to enroll in courses. Be sure to complete the in-person training by the
end of September so you can enroll in Spring 2018 courses.



RESOURCES FOR OFF-CAMPUS LIVING
Bank Accounts
You will want to open a bank account as soon as possible to keep your money in a secure loca on. To make purchases or pay
bills in the U.S., your op ons include check wri ng, cash from Automated Teller Machines (ATM), debit or credit cards, and
online banking. You should open a checking account to pay bills such as rent or u li es. Most checking accounts include an
ATM/debit card so you can withdraw money from your account and use it for purchases.
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Be aware that some debit cards have credit card logos on them (such as Visa, MasterCard etc.) and can func on like a credit card
for purchases. However, the payment is drawn from your checking account directly.

The following bank loca ons are within walking distance of the UCB campus. These banks have ATM machines located
throughout the city and state:

        Bank of America                                Wells Fargo
        www.bankofamerica.com                          www.wellsfargo.com
        2347 Telegraph Ave. (510) 273-5443      2460 Bancro Way, Berkeley, CA 94709
        2129 Sha uck Ave. (510) 273-5466               (510) 464-2266
        Berkeley, CA 94704




If you have a television in your home, you can access three or more channels at no charge. However, you may ﬁnd that the
recep on is not clear and it will be diﬃcult to watch. Some people end up purchasing cable television service, which not only
makes the free channels clearer, but also gives you access to a greater number of channels. In the Bay Area, Comcast
(www.comcast.com/) and AT&T (www.a .com/) are the two main providers of cable television. Many students use streaming
devices like Apple TV or Roku and sign up for online streaming services like Ne lix or Hulu instead of purchasing cable
television service.

To have high-speed internet at home, you will need to purchase either DSL or cable service. Again, the top two companies
that serve the Bay Area are Comcast and AT&T. You will need to look at their op ons to decide what is best for you. Check
their websites for more informa on.


Since you already have a mobile phone in your home country, you will need to inquire about its use in the U.S.; many
companies have interna onal plans. However, it may be more economical to purchase a new phone a er you arrive here. Do
some research in advance by looking at websites of the major cell phone companies such as AT&T, T-Mobile, Verizon,
MetroPCS, Cricket Wireless and Sprint. Find a company that does not require a two year contract




As a student temporarily in the U.S., you will likely want to buy inexpensive furniture and household goods.




Ikea
www.ikea.com
4400 Shellmound St.
Emeryville, CA 94608 (510) 420-4532
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Target
www.target.com
1057 Eastshore Hwy Albany, CA 94710 (510) 982-0512




Craigslist
www.craigslist.org

Search under San Francisco – East Bay for items in the local area. You will likely have to pick up the items yourself. Be sure to
read the safety and fraud precau ons for using craigslist, as it is not monitored by any authority.

    ●   h p://www.craigslist.org/about/scams
    ●   h p://www.craigslist.org/about/safety
The Goodwill Store
h p://eastbaygoodwill.org/
2058 University Ave Berkeley CA 94704
(510) 649-1287



Safeway
1444 Sha uck Place
Berkeley, CA 94709 510-526-3086

Whole Foods
The Whole Foods Market specializes in natural and organic foods. Their prices are higher than other grocery stores.

3000 Telegraph Avenue
Berkeley, CA 94705
(510) 649-1333

Trader Joe’s
1885 University Ave or 5727 College Ave Berkeley, CA 94703
Oakland, CA 94618
(510) 204-9074           (510) 923-9428

Berkeley Bowl
2020 Oregon St. or 920 Heinz Avenue Berkeley, CA 94703
                        Berkeley, CA
(510) 843-6929             (510) 898-9555

STUDENTS WITH FAMILIES
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If your spouse or children accompany you during your stay in the U.S., you will need unique services and resources to help your
family feel at home.


If your spouse decides to pursue a degree program while in the U.S., speak with an advisor in Berkeley Interna onal Oﬃce well
in advance to make sure it is legally possible to do so.


English as a Second Language (ESL) instruc on is oﬀered by many schools in the Bay Area. Below is a par al list of local ESL
programs in Berkeley - we do not endorse or recommend any one program over another.

    ●   UC Berkeley Summer English Language Ins tute (http://summerenglish.berkeley.edu/)

    ●   YWCA English in Ac on (h p://www.ywca-berkeley.org/interna onal-programs/)
        Informal English tutoring/conversation, open to UC students and families.

    ●   Berkeley Adult School (h p://bas.berkeley.net/index.html) ESL Department:
        h p://bas.berkeley.net/esl.html;
        Other Language Courses: h p://bas.berkeley.net/languages.html

    ●   English Studies Ins tute (h p://www.englishsi.com/)

    ●   ELS Language Centers (h p://www.els.edu/en/ELSCenters/Detail?locid=BER#els_general_tab)

    ●   Language Studies Interna onal

    ●   (h p://www.lsi.edu/en/english/united-states/san-franciscoberkeley/school)




Besides going to school or working, there are other ways to meet new friends and ﬁnd community. A group called the
University Sec on Club (h p://universitysec onclub.berkeley.edu ) sponsors a weekly gathering of interna onal spouses (and
some children) at the University YWCA on Bancro Way called “The Centre.”

UC Berkeley Parents Network

h ps://www.berkeleyparentsnetwork.org/

A great web site to ﬁnd informa on related to children, paren ng, families and a wide variety of other topics related to living
in the Bay Area.




Most child care in the U.S. is not supported by the government and is privately-owned. Families are responsible for ﬁnding
suitable child care for their children and paying for it on their own. Two resources of great help to UC Berkeley students and
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scholars are:

University Early Childhood Educa on Program www.housing.berkeley.edu/child
for infants and pre-school children at UCB.

Bananas Child Care Information and Referral Service
www.bananasinc.org
community-based service for ﬁnding either regular daily care or the occasional babysi er.



CAMPUS PARKING
There are many student parking lots just oﬀ of the UCB campus. Visit the Parking and Transporta on Oﬃce website at
h p://pt.berkeley.edu for informa on on obtaining a campus parking permit, campus parking maps, campus shu le buses /
emergency night shu le buses and other helpful resources.
Campus Parking: Student parking is available for $377 per semester. To purchase parking please visit:
h p://pt.berkeley.edu/parking/student

Public Transportation

While at Berkeley, you will likely use two main modes of public transporta on: BART and buses.




BART is a local light rail / subway system that serves the en re Bay Area. Stops include San Francisco Airport (SFO),
downtown San Francisco, Oakland, Berkeley, Fremont, Richmond, and Concord. BART runs seven days a week. Fares vary
according to the distance to be traveled. The closest BART sta on to campus is the Downtown Berkeley BART. www.bart.gov




The Alameda-Contra Costa Transit District is the third-largest public bus system in California, serving Berkeley, Albany, El
Cerrito, Oakland and Kensington. AC Transit buses run through the UCB campus and also carry passengers across the Bay into
San Francisco. UCB students get a bus pass (called the Class Pass) at the beginning of each semester that allows unlimited use
on this bus system. www.actransit.org/




There are several bike-friendly streets (Bicycle Boulevards), a fully accessible campus, and the possibility to take your bike on
public transport (bus and BART) and plenty of bike (repair) shops. Bike the in Berkeley is common, even in populated places.
It is wise to invest in a very good lock. Register your bike with the University Police Department:
h p://pt.berkeley.edu/around/biking/bikinginfo

Two well-known places to buy a (new) bike are:
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    ●   Mike’s Bikes (h p://mikesbikes.com/) on University Avenue, and
    ●   Performance Bikes (www.performancebike.com) on San Pablo.



SHIP: STUDENT HEALTH INSURANCE

2222 Bancro Way, Berkeley CA

All students at UC Berkeley are required to have health insurance for themselves and any accompanying dependents. Students
are covered by the Student Health Insurance Plan (SHIP) upon payment of registra on fees. Dates of coverage are August 1,
2016 – July 31, 2018. To read more about insurance coverage, see the University Health Service’s web site at
www.uhs.berkeley.edu/index.shtml




2222 Bancro Way, Berkeley, CA

All health care services must begin at the Tang Center. Please use the Tang Center just as you would your regular doctor's
oﬃce. You may use your student ID card to get services at the Tang Center if you are covered by SHIP. Spouses and family are
not covered by SHIP; please contact the SHIP oﬃce for insurance op ons for your dependents.

The Tang Center services include: rou ne medical exams, lab tests, x-rays, physical therapy, pharmacy, urgent care, mental
health counseling, career counseling, and vision care eye clinic. Please see their web site for a full descrip on of all their
services: www.uhs.berkeley.edu/index.shtml




h p://recsports.berkeley.edu/

2301 Bancro Way, Berkeley CA

Cal Recrea onal Sports is dedicated to enhancing the knowledge, wellness, ﬁtness, personal skills and quality of life for
students, faculty, staﬀ, and the community. By providing facili es, programs, ac vi es and the opportunity for coopera ve
and compe ve play. Student membership is included in your tui on fees.




Wellness at Boalt

Some people love every minute of law school. Some people don’t. Most students experience ups and downs as rigorous
academic demands intersect with family obliga ons, daily life, and countless personal and professional events beyond Boalt Hall.
As with any major undertaking, you will get more out of law school if you take care of yourself mentally, physically, socially, and
emo onally.
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Especially as an interna onal student, the stresses of law school can become compounded due to the extra stresses of
acclima ng to a new language and culture. Homesickness may occur, which can lead to feelings of loneliness and isola on.
The stresses of moving to a completely new place can be eased by just si ng down and talking to someone who cares.
Emergency situa ons are not the only reason to seek counseling

Personal psychological counseling is provided by Boalt's dedicated Psychologist, Dr. Linda Zaruba. All counseling is conﬁden al.
You can reach Dr. Zaruba by phone (510) 643-5447 or by email: zaruba@uhs.berkeley.edu

CAMPUS RESOURCES FOR GRADUATE STUDENTS

Counseling and Psychological Services (CPS) provides a variety of services for students to help with personal, academic,
career, and crisis concerns. Access to CPS counseling services are free to all registered UC Berkeley students. If you prefer to
speak to a counselor outside the law school, professional counselors are available at the Tang Center at 2222 Bancro Way,
(510)642-9494. More informa on is online at h ps://uhs.berkeley.edu/counseling/about

In the U.S., it is very common to talkk with a counselor about problems or diﬃcul es involving academic work, personal
rela onships, stress, unhappiness, and an individual’s view of himself or herself, etc. In diﬀerent cultures, these problems
may be viewed and treated diﬀerently. For example, if you experience diﬃcul es when you are living in your home country,
perhaps you would turn to your family or friends for help and advice. During your stay in the U.S., you may be apart from all
family and close
friends, and you may feel the need to ﬁnd subs tute sources of emo onal support. A counselor can help you determine what
the diﬃculty is, help you see op ons that you might not have seen, and help you resolve the diﬃculty.

By law, all conversa ons are kept conﬁden al.

Meditation & Silent Prayer Room

Room 239C (across from Room 244) has been designated a space for silent contempla on and/or prayer throughout the day.
Please take advantage of this great resource.

Lactation Room

UC Berkeley maintains several private lacta on rooms for nursing mothers, including one in Simon Hall at Berkeley Law. To
access the room you must register with the campus Breas eeding Support Program:
h ps://uhs.berkeley.edu/facstaﬀ/wellness/breas eeding-support




The Disabled Students' Program (DSP) is commi ed to ensuring that all students with disabili es have equal access to
educa onal opportuni es at UC Berkeley. They oﬀer a wide range of services for students with disabili es. These services are
individually designed, and based on the speciﬁc needs of each student as iden ﬁed by our Disability Specialist. All new
students seeking services through DSP are responsible for comple ng the following ﬁve (5) steps before they can enroll in
DSP:

   ●   Submit an online applica on for DSP services at
       h ps://dssonline.berkeley.edu/scarab/applicant/studentInfoReview.faces. When you submit your online applica on,
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       you will be provided informa on on what type of disability veriﬁca on to provide, and who to schedule an
       appointment with. Please print out this page for your records.

   ●   Provide DSP with veriﬁca on of your disability in advance of your "intake appointment" with a Disability Specialist.

   ●   Ini ate a request to schedule an appointment with a Disability Specialist for an intake interview by calling or
       contac ng the DSP recep onist. The DSP phone number is 510-642-0518.

   ●   Meet with your Disability Specialist during your "intake appointment,” to discuss the accommoda ons or
       services you may be eligible to receive.

   ●   A er you have been approved for accommoda ons and services by your Disability Specialist, request accommoda on
       le ers and auxiliary services online. Make this request at the beginning of each semester in which you will require
       accommoda on le ers or auxiliary services.

You must ini ate and complete these ﬁve (5) steps before you may be approved for DSP services. If you are unable to complete
the online applica on process, you can request assistance in person from the DSP recep onist.



Berkeley Law supports many opportuni es for student engagement within and beyond Boalt Hall.
h p://www.law.berkeley.edu/227.htm Keep an eye out for an announcement about the Student Ac vi es Fair in early Fall
semester where you can learn about all the great student organiza ons at Berkeley Law.

 SOALS: STUDENT ORGANIZATION FOR ADVANCED LEGAL STUDIES

The Student Organiza on for Advanced Legal Studies (SOALS) is a student organiza on for LL.M. students at Berkeley Law. The
primary goal of the organiza on is to facilitate the social and professional needs of the LL.M. students while studying at
Berkeley Law. Through social, professional, and academic ac vi es, SOALS aspires to build rela onships among the LL.M.
class. SOALS is responsible for ac ng as a liaison between the student body and the ADP oﬃce; we are happy to work with
SOALS and are open to sugges ons on how to improve the program and student life in general at Berkeley Law.

The tradi onal track has one SOALS President. The class president of the gradua ng year will have the honor of delivering the
gradua on speech during the commencement ceremony. We will send an announcement soon with instruc ons on how to run
for class president.

 BHSA: BOALT HALL STUDENT ASSOCIATION

The Boalt Hall Student Associa on (BHSA), the law school's student government organiza on, is composed of all registered
law students. BHSA organizes ac vi es of general law school interest and helps new students adjust to life at Berkeley Law by
sponsoring social, athle c, and law-related events. The BHSA council represents student interests in curriculum planning,
admissions policy, faculty hiring, administra on of the library, professional placement, and many other areas. Every year
there are two LL.M. representa ves on the BHSA board. You will be no ﬁed by email within the ﬁrst few weeks of classes
regarding BHSA program informa on and elec on dates.
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Email: bhsa@law.berkeley.edu h ps://www.law.berkeley.edu/student-life/student-organiza ons/boalt-hall-student-associa on/




To stay current on all events at Berkeley Law, please visit the following:

    ●     UC Berkeley Events: h p://events.berkeley.edu/
    ●     Berkeley Law Events: h p://www.law.berkeley.edu/2054.htm




A list of some of the most popular restaurants, bars, and ac vi es for students:

Thai Temple

Sunday brunch 10 am- 1pm: enjoy delicious authen c Thai food in the garden of a beau ful Buddhist temple. This Sunday
event is great community bonding place and way to experience a new culture through food and atmosphere.

Loca on: 1911 Russell St 510-849-3419

La Note

Delicious French-inspired food, one of the best breakfast experiences in Berkeley. On a sunny day try and get a spot on the
back pa o and enjoy your Crème Fraiche pancakes and coﬀee on a cozy porch amidst beau ful leafy foliage.

Loca on: 2377 Sha uck Avenue

510-843-1525

Website: www.lanoterestaurant.com

The Albatross Pub

Although it is quite a trek from campus, the oldest pub in Berkeley oﬀers an invi ng atmosphere in which to hang out with a
large group of friends and play a range of board games, pool and darts while ea ng popcorn and drinking prac cally any
drink you can imagine. Great way to spend a weekend evening!

Loca on: 1822 San Pablo Ave. 510-843-2473

Website: www.albatrosspub.com

Triple Rock Brewery
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Great place to spend a Thursday, the only night on which they sell their famous Monkey Head beer. This bar has a great
atmosphere and is always busy with a great mix of Berkeley students, locals, and sports fans.

Loca on: 1920 Sha uck Ave. 510-843-2739
Website: h p://triplerock.com/

Free House

This restaurant/bar located directly across the street from Boalt oﬀers good service, a nice front and back pa o, and nice drinks
and food that will completely sa sfy those that are just too red to trek anywhere farther and just want to socialize without
pu ng in too much eﬀort. Ask for recommenda ons about the beers that are on tap which rotate o en, order a bucket of
sweet potato fries or a giant pretzel, and you will not be disappointed.

Loca on: 2700 Bancro Way

510-647-2300

Website: h p://berkeleyfreehouse.com/

Jupiter

What could be be er than delicious and pizza and delicious beer in one wonderfully invi ng place? In the summer or on a
warm night take a seat on the eclec c back pa o and listen to some live music amongst the twinkling garden lights with friends
or a date, you will probably leave with a smile on your face.

Loca on: 2181 Sha uck Avenue (at Center Street)

510-THE-ROCK

Website: www.jupiterbeer.com

Cheeseboard

Truly a Berkeley must, this coopera ve pizza joint sells one type of pizza a day that will never leave you disappointed. Choose
between a slice, a half, or a whole pizza and take it over to the grass of the center divider to experience a classic Gourmet Ghe o
picnic. On the weekend evenings they will host live music that will keep you hanging around on a warm summer night. If you
have a craving for mind-blowing cheese head next door to their cheese shop which will allow you to travel the world through the
medium of cheese.

Loca on: 1504 / 1512 Sha uck Ave
510-549-3183
Website: h p://www.cheeseboardcollec ve.coop/

Philz Coffee

Right down the street from Cheeseboard, this cute coﬀee shop allegedly serves the best coﬀee in Berkeley. The classic Mint
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Mojito with fresh mint will be a refreshing way to quench your thirst while studying on the upper level of this fun café.

Loca on: 1600 Sha uck Ave

510-705-1083

Website: h p://www.philzcoﬀee.com/

Brazil Café

On the West Side of campus resides a small and colorful hut serving authen c Brazilian food that no one would miss walking by.
If you fancy a stroll through the redwoods on the western part of campus, you will be rewarded by your eﬀorts with a delicious
tri- p sandwich or rice bowl that you can take away to the grass on campus, or can eat outside next to this colorful stand.

Loca on: 2162 University Ave.

510-845-8011

Website: h p://brazilcafeberkeley.com/

Fire Trails

Looking for a great outdoor atmosphere to get some exercise? Head over to the Clark Kerr campus and keep heading uphill
un l you reach one of the dirt paths leading up into the Claremont Regional Preserve where you will not only gain great
exercise from walking up steep hills, but also the most rewarding views of the en re Bay Area. Ge ng to the top of the hill
from Clark Kerr takes only about twenty minutes and will leave you feeling as if you have conquered the world and stumbled
upon one of Berkeley’s hidden treasures.

Loca on & Website: www.ebparks.org/parks/claremont_canyon

College Avenue

An area that many miss as it is located on the south side of campus, but truly is worth spending an a ernoon strolling down.
Start around 2 and grab some ice cream at Ici where you will always ﬁnd a line wai ng for some delicious handmade ice cream,
and poke your head into the sma ering of local shops that you will only ﬁnd in Berkeley. Keep walking downhill and you will
pass delicious restaurants like Wood Tavern and Southie in addi on to The Trappist, a specialty beer shop. You will also pass
Cole coﬀee, which has a very dedicated following. A er a decently long walk down College you will probably be hungry and will
be graciously rewarded by a slice of deep-dish pizza at Zachary’s, one of Berkeley’s oldest and most well-known pizza places. If
you are feeling crazy, head over to Smi en where you will be able to get liquid nitrogen ice cream made right in front of you.
Walking back up college you will hit The Graduate, a famous Berkeley bar on Claremont and College that oﬀers cheap drinks, a
fun dive-bar atmosphere, and free popcorn!

Tilden Park

If you are red of the urban atmosphere or bogged down by excessive studying, head up to Tilden Park for a few hours to take
in some awe-inspiring views and nature that will leave you feeling refreshed and mo vated to con nue on in your work with a
more posi ve outlook. You can swim in the lake for a few dollars or you can hike up into the hills to get exercise, breath the
fresh air, and gain a geographical perspec ve of the East Bay.
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Loca on & Website: h p://www.ebparks.org/parks/ lden
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EMERGENCY CONTACT INFORMATION

Call 911 or, if on campus dial 642-3333

In the event of an emergency, call 911 from anywhere on campus, or from a cell phone call 642-3333. For non-emergencies
or informa on, call UCPD at 642-6760.

UC Berkeley Police Department Address: 1 Sproul Hall
Berkeley
CA 94720-1199 U.S.A.



nightsafety.berkeley.edu

The Campus oﬀers free night safety services to get you safely from campus loca ons to des na ons within our service area.
The Night Safety Shu les run un l 4 AM and you can see where a shu le is on the online map. For informa on about all
night safety services, go to nightsafety.berkeley.edu. To see shu les on their routes on an online map, go to
bearwalk.berkeley.edu/shu les a er 7:30 PM.

Night Safety Escorts (BearWALK)

Uniformed, trained, and radio-equipped Community Service Oﬃcers (CSOs) provide a walking escort to nearby residences,
public transporta on, or parking lots. The service is available from dusk to 1:45 a.m. To request an escort, call 642-WALK
(510-642-9255); a CSO will arrive in 15 minutes.

Night Safety Shu les (Bear Transit)

The Night Safety Shu le service is an extension of the BearTransit day me service, and provides safe nigh me transit to and
from the campus. Bear Transit Night Safety Shu les are free to all and operate year-round*. From 7:30pm to 4am shu les
run on one of two set routes between campus, BART, Clark Kerr Campus and residence halls.




a.      U lize the free Night Safety Services located at h p://nightsafety.berkeley.edu

b.      Travel with a friend or in a group

c.      Be alert and aware of your surroundings

d.      Avoid dark, vacant or deserted areas
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e.      Use well-lit, well-traveled routes

f.      Dial 510-642-3333 or use a Blue Light emergency phone if you need help




The campus home page is your ﬁrst stop for emergency informa on; if the home page isn't available, go to the campus
emergency website. News and instruc ons will also be updated regularly on an emergency hotline, 800/705-9998, and on
radio broadcasts in the Bay Area from KALX 90.7FM or KCBS 740AM.

Tips for Campus Safety

If you feel you’ve been a vic m of a crime, please report it. It’s for your protec on and the protec on of others. Your report,
along with others like it, might show a crime trend, or give UCPD clues to stop other crimes. If someday the police recover
your property, your report could help them return it to you.

The most important thing to know about walking at night: Be alert! If you’re not aware of your surroundings, you may be a
walking target. When you’re walking alone at night, don’t walk with headphones in your ears or have a long conversa on on
your cell phone. The campus itself is rela vely safe, but in this urban area, we are NOT immune to crime.

Three easy ways to make a report

     1. Use your cell phone, in an EMERGENCY. On or near campus, dial UCPD (510/642-3333). If elsewhere in the city, call
        Berkeley Police Department (510/981-5911). Program ahead of me, so it’s a one-bu on call.

     2. You can ALWAYS dial 911 from any phone anywhere! A landline (including a code blue phone) on campus will get
        you direct to UCPD dispatch.

     3. For non-emergency reports, call UCPD 24-hours (510/642-6760) or report an ongoing crime anonymously online
        using CalTip: police.berkeley.edu/cal p/




Lockers will be assigned to each student. Students will share a locker with another LL.M. student due to space constraints. If
you lose your locker combina on, ask the ADP staﬀ for assistance. Please do not leave valuables or food in your lockers.
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●   Always lock your bike to a bicycle rack.

●   Use a high quality “U” shaped lock. Avoid using lightweight cables or chains.

●   Always lock your bicycle through the frame and both wheels to a bicycle parking rack.

●   Lock all free parts of bike or take them with you.

●   Avoid leaving your bicycle locked outside overnight.

●   Always wear a helmet. For night riding, use a headlight, a red rear reﬂector, two side reﬂectors on each wheel and
    reﬂector pedals.




●   Do not leave laptops una ended. Do not walk away from it, even for “a minute.”

●   Secure your laptop with quality so ware and hardware (cable locks, storage cabinets).

●   Try to keep laptop computers and other portable electronics with you.




●   Try to use the ATM during daylight hours. If you have to get cash at night, go with someone else and only use
    machines that are visible from a major street and well lit.

●   When entering your secret code, cover the pad with your hand.

●   Always take your transac on receipts and statements.

●   Do not count or display money at the ATM.

●   Do not accept oﬀers of help from anyone you don't know. If you have problems or ques ons contact your bank.
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●   Park in well-lit, heavily populated areas. Trust your ins ncts, if something doesn't feel right, ﬁnd another place to
    park.

●   Avoid parking next to occupied vehicles.

●   Be aware of your surroundings.

●   Do not leave valuable items visible in your car.

●   Always roll up all windows and lock all doors before leaving your vehicle.




●   In the City of Berkeley, rental units must have dead bolt locks on all doors leading to the outside. Make sure all
    hallways, entrances, garages, and grounds are well lit. Leave spare keys with friends-not under the doormat, in
    mailboxes, or in common sense hiding places.

●   Lock your apartment door and windows when you leave.

●   If you do not feel secure having packages mailed to your apartment, please use the address of a friend who could
    receive your package. Mailing personal packages to Berkeley Law is discouraged. However, if you would like to send
    textbooks you may, but Berkeley Law is not responsible for lost items.
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Optional Practical Training
(OPT) Tutorial
How to prepare your
application materials for
submission to the U.S.
Citizenship and Immigration
Service (USCIS).
                                                                                 Berkeley International Office
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OPT Tutorial Outline
•   What is OPT, OPT Eligibility Requirements, Application Process Overview
•   Completing BIO’s OPT I-20 Request Process
•   Choosing a Start Date & Scenarios
•   Checking your OPT I-20 for Accuracy
•   Preparing your OPT Request to USCIS
          •   Your Photos
          •   Paying the USCIS Fee
          •   Completing the I-765 Form
          •   Your OPT I-20 Copy
          •   Your Passport & Visa copies
          •   Your I-94 Record
          •   Your Previous I-20 Copies
          •   Your Previous EAD Card Copy (may not be applicable)
          •   Your G-1145 Form
•   Mailing your Application & Application Deadlines
•   Receiving your I-797c, your EAD card, and Request for Evidence
•   Maintaining Your F-1 Status & Reporting Requirements
•   Frequently Asked Questions: Employment & Travel
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What is OPT?
Optional Practical Training is an F-1 student employment benefit.

Allows for off campus work authorization in a student’s major
field of study.

Students must be in full-time F-1 status for at least one
academic year.




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Are you eligible for OPT?
Pre-Completion OPT                                  Post-Completion OPT
For most students, Curricular Practical Training
                                                    Have you been in a valid student status for one
(CPT) is a better option. It allows for off-
                                                    academic year?
campus work authorization in your field of
                                                    At UC Berkeley, one academic year means
study without using any of the 12 months of
                                                    enrollment for consecutive:
OPT time. See our web site for a detailed
                                                    •Fall – spring semesters
description of Curricular Practical Training.
                                                    •Spring – fall semesters
                                                    •Spring – summer (enrollment through August, not
                                                    Summer A only) semesters
You do NOT need to have a job offer to apply        •Summer (minimum of 12 units) – Fall semesters
for OPT. The authorization is based on your
program completion, not a specific employer.        Will you be completing your program of study at
See the OPT FAQ web page for more                   UC Berkeley in the next 90 days?
commonly asked questions.                           The application for OPT cannot be submitted more
                                                    than 90 days before your program completion date.




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Types of Qualifying Employment
OPT employment must be a minimum of 20 hours per week in a job that is related to the
your degree program. The burden of proof is on the student to demonstrate the
relationship. The types of employment allowed during the initial 12-month period of OPT
include:
       •   Paid employment
       •   Multiple employers
       •   Work for hire (commonly referred to as 1099 employment)
       •   Self-employed business owner
       •   Employment through an agency
       •   Unpaid / Volunteer employment

                                                       See the OPT Qualifying Employment web page
                                                       for a detailed explanation of each category.



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Application Process Overview
  1. Request an OPT I-20
  The I-20 will be ready for pick up 3 business days after submitting
  the OPT request form and Post-Completion Services Fee payment to
  Berkeley International Office.

  2. Prepare and mail your application materials
  Allow approximately 1 week to gather and organize the required
  documents. After USCIS has received your application, allow
  approximately 90 days for processing.

  3. Receive the Employment Authorization Document (EAD)




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Step 1: Request your OPT I-20
Complete the OPT Request Form [pdf] :

Confirm your expected program completion date.

Get the required signature from your academic
advisor.

Choose your OPT start date.

 Include $100 payment for Post-Completion Services
fee.
Check or money order (no cash) made payable to “UC Regents”.
Include your Student ID number in memo section of check or money
order.


Attach fee payment to form and submit to Berkeley
International Office.




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Step 1: Request your OPT I-20                                                      Berkeley International Office
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  Choose your OPT start & end date
     • Your OPT start date is the date that your 12
       months of work authorization begins.
     • Your OPT start date must be within your 60-
       day grace period after the program completion
       date.
     • The requested start & end dates will be noted
       on page 2 of the new OPT I-20.
     • The end date will usually be 1 year from your
       start date (i.e. a July 2 start date will have a
       July 1 end date.)
     NOTE:
      Once USCIS receives the OPT application, it is
      not possible to change the requested start
      and end dates.




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Step 1: Request your OPT I-20                                                        Berkeley International Office
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  Obtain Academic Recommendation and signature
  Undergraduates:
  •Obtain the signature from a College Advisor, (i.e. College of
  Letters and Science) or Department Advisor

  •Expected completion/graduation = The last day of the
  semester in which program requirements are completed.

  Graduates:
  •Obtain the signature from a Faculty Advisor or Graduate
  Student Affairs Officer (GSAO)
  •Expected completion = The last day of the semester in
  which program requirements are completed, OR The date
  the thesis or dissertation is filed with the Graduate Division
  Speak with a BIO advisor if you have a job offer beginning
  before the last day of the semester. Graduate students who
  only have a dissertation/thesis remaining may be eligible to
  begin their post-completion OPT before filing




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Step 1: Request your OPT I-20                                                       Berkeley International Office
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 Program completion: Undergrads Completing in Summer Session

  To qualify for a summer completion date, students must:

  Have a final course requirement to be completed in summer.

  Be enrolled full time during Summer Session or receive
  Reduced Course Load approval from BIO for final term.

  Use the end date of your specific Summer Session as your
  program completion date (i.e. Summer Session A end date), OR
  Use the general Summer Session end date
  (i.e. last date of Summer Session E)
  If you have only been enrolled for 1 previous semester (Spring)
  and are completing in your second semester-Summer, you must
  be enrolled through August, the end of the Summer term. You
  cannot meet OPT eligibility if only enrolling in Summer Session
  A.
  Note: If summer is your final semester, any on campus
  employment or Curricular Practical Training is limited to 20
  hours per week.




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Step 1: Request your OPT I-20                                                      Berkeley International Office
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  Program Completion: Graduate Students Filing
  Thesis/Dissertation May Through August
  *Please speak with a BIO advisor about your program completion date and choosing an OPT start date.


  Option 1                              Option 2                             Option 3
  •Use Spring Semester program          •Use Summer Session program           • Use Fall Semester
  completion date*                      completion date*                        completion date*
  •No summer enrollment                 •Enrollment for Summer Session        • Be on Fall Filing Fee and
  required                              required (no unit minimum)              submit thesis/dissertation
  •Degree conferred in Summer           •Degree conferred in Summer             after Summer Session end
  •OPT start date must be within        •OPT start date must be within          date
  60 days of Spring Semester            60 days of Summer program             • Degree conferred in Fall
  program completion date               completion date                       • OPT start date needs to be
                                                                                within 60 days of Fall
                                                                                program completion date




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Step 1: Request your OPT I-20                                                              Berkeley International Office
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   OPT Application Timeline:
   (Example based on Dec 14,2018 program completion)
          BIO processing time = 3 business days                     OPT must begin within 60 days
          USCIS processing time = 3 months average                  Of program completion date




                                                                Program                             Final Deadline:
                                                                Completion                          OPT Received
                    First Day to Apply                          Date                                by USCIS



                   09/14/2018*                                 12/14/2018                   02/12/2019

      *BIO can accept
      applications
      starting
      9/14/18,                  Apply to UCSIS up to 90 days      Apply to UCSIS up to 60 days
      90 days before            before program completion         after program completion
      12/14/2018.




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Step 1: Request your OPT I-20                                                      Berkeley International Office
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  Scenario 1: Spring Program Completion

           2019                                                                  17




                                                        May 17, 2019




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Step 1: Request your OPT I-20                                                      Berkeley International Office
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 Scenario 2: Spring Program Completion

                                                               16th




                                  May 17


                                                                                              16th2019.




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  Check your OPT I-20 for accuracy
  After receiving your OPT I-20, notify BIO immediately if there are any errors.



    Education Level
    Education Level may have changed. (ex. PhD
    candidate decides to graduate with a
    Master䇻s)

    Program End Date
    Program completion date will be updated to
    the program completion date on the OPT
    request form.
    (I-20 will remain valid through OPT authorization period on
    page 2 or the approved EAD card dates)


    School Attestation
    Make sure there is a BIO advisor signature.
    Check the date – USCIS must receive your
    application within 30 days of this date.

                                                                             Advisor Signature
    Student Attestation
    You should sign & date I-20. Students 18 and
    over do not need a parent’s signature.                                 Student Signature     MM/DD/YYY




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 Check your OPT I-20 for accuracy
                                                                                                                             I-20, Page 2

         OPT start and end dates requested (OPT start
         date may be adjusted if USCIS does not
         complete the processing of your OPT by the
         requested date. Apply at least 90 days before
         requested start date, if possible.)




                                                                        Advisor Name   DSO|Berkeley, CA   AdvisorSignature   MM/DD/YYYY



         OPT applications must be received by USCIS
         no later than 30 days after this date. Please
         see an advisor at BIO if there are concerns
         that the application will not arrive on time.




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Step 2:
Prepare & Mail
Your Application Materials




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Required documents for OPT application
     2 U.S. Passport Photos (with name and I-94 number written lightly in pencil on back of each),
      taken within the past 30 days.
     USCIS Fee of $410. Check, Money Order, or Credit Card payment made payable to: 䇾U.S.
      Department of Homeland Security.䇿
     Form G-1145 to confirm receipt and obtain case number in advance of paper notification:
      http://www.uscis.gov/files/form/g-1145.pdf.
     Original form I-765. http://www.uscis.gov
     Copy of OPT I-20 issued by BIO within the past 30 days (page 1-3). Don’t forget to sign it!
     Copy of passport biographical page and F-1 visa stamp, if applicable.
     Printout of electronic I-94 record (https://i94.cbp.dhs.gov/I94/) or copy of paper Form I-94
      (both sides)
     Copies of all previous CPT I-20s (from UCB and/or previous schools), if applicable
     Copies of all previous OPT I-20s and EAD card(s) (from UCB and/or previous schools), if
      applicable
                                                                   No documents are required
                                                                   for F-2 dependents.



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Gather the required documentation
Passport Photo Requirements
The photos required to use for the OPT application must meet the specifications of U.S. style passport photos. To see a full
description of these specifications, go to the U.S. Department of State website.
• Submit 2 identical color passport photos taken within 30 days of filing your application. The photos must have a white to
off-white background, be printed on thin paper with a glossy finish, and be unmounted and unretouched. The passport-
style photos must be 2” by 2”. You must remove your glasses and your head must be bare unless you are wearing
headwear as required by a religious order of which you are a member.
• Using pencil or felt pen, lightly print your name and I-94 number on the back of the photo. Do not damage the photo
surface by pressing hard while writing
                                                       Professional Photography
                                                       USCIS has been examining passport photos more strictly. BIO
                                                       recommends students have their photos taken professionally. Recently,
                                                       students have been visiting the following locations to obtain their photos.

                                                       Metro Publishing
                                                       2440 Bancroft Way
                                                       Berkeley, CA 94704
                                                       http://www.yelp.com/biz/metro-publishing-berkeley

                                                       Foto Shop
                                                       131 Berkeley Sq
                                                       Berkeley, CA 94704
                                                       http://www.yelp.com/biz/foto-shop-berkeley



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Gather the required documentation
 Check, Money Order, or Credit Card:
 • USCIS Payment Methods: Check/Money Order or Credit Card Payment for $410.
 • Check/Money Order should be made payable to "U.S. Department of Homeland Security" with SEVIS number
   in the memo line. Money orders can be purchased at banks, post office, and some local grocery stores. Make
   sure a name and address are printed on the check. If the address has changed, that is fine.
       9 Do not use “temporary checks” often issued by the bank when opening a new account.
         These checks have no name or address in the upper left hand corner.
 • For Credit Card payment, submit form G-1450, authorized payment amount $410. You may only use a credit
   card account with a U.S. billing address- no foreign billing address is allowed.

      Money orders and cashier checks should include the same information as a personal check.




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 Gather the required documentation
 Form I-765
 Download the I-765 form from the USCIS web site. Important:
 Use the most current version. It is best to download it just before
 mailing the application since USCIS updates it frequently.

 How to fill out Form I-765
 • Type or print legibly in in black ink.
 • Answer all questions fully and accurately.
 • If a question does not apply to you, type or print “N/A”
 • Print and complete ALL pages 1-7. If any pages are missing,
   your application will be rejected!

 Some parts of the I-765 can be confusing. The following slides
 will help you complete those “tricky” questions.

 Note: In mid-July 2018, the current version of the I-765 was updated.
 This tutorial reflects the newest version.




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 Complete the Form I-765


  Top Portion: leave this entire section blank                          Leave blank




  PART 1. Reason for Applying, pg. 1
                                                            x
  Check the “1.a.” box for “Initial Permission to
  accept employment.”




                                                                                                            22
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 Complete the Form I-765
  PART 2. Information About You, pg. 1
                                                                             FAMILY NAME
  #1 Name
  Your entire family name should be in CAPITAL letters.                      First Name
  Use upper & lower case for the first name. Please write                   N/A
  your name exactly as it appears on your I-20.


  #2-4 Other Names Used
  Enter your previous names, including nicknames you
  have used in official records or documentation. If none,
  write “N/A”
                                                                             N/A
                                                                             N/A
   If you are typing out the I-765 electronically, be
   aware that the form does not allow you to write                           N/A
   the “/” character into these fields. You will need
                                                                             N/A
   to hand-write the “N/A” wherever this appears in
   the instructions.                                                         N/A
                                                                             N/A

                                                                             N/A
                                                                             N/A
                                                                             N/A
                                                                                                            23
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 Complete the Form I-765
PART 2. Information About You, pg. 2
U.S. Mailing Address                                                       Oski Bear (or N/A if this is your address)
This is where you would like the Receipt Notice and the EAD card to                     123 College Ave
be mailed. This is very important!
                                                                          x                           8
The address should be valid for at least 3-5 months, the length of
                                                                                       Berkeley
time it will take to process the application. If you have plans to
move during this time, use a reliable friend or family member’s                CA                      94720
address to receive the EAD (indicate this in #5.a.)

#5.a. If the mailing address belongs to someone other than                                                      X
yourself, put their full name (First Name Last Name) here. If this is                             If no, complete 7.a-7.d
your address, write “N/A.”

#5.b-5.e Write a valid mailing address in the U.S. It may be a
residence, commercial address, or PO Box. You may not use BIO’s
address.                                                                               987 Example Street

                                                                          x                           45A
#6 If you listed a mailing address that is NOT your current physical
living address, select “No” and complete #7.a-7.d with your                            Oakland
current physical address. If “Yes”, write “N/A” in #7.a-7.d. Physical          CA                      94604
address should reflect where you actually live.


                                   *If the you live outside of CA, please pay attention to the special
                                   mailing instructions later in the tutorial.
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 Complete the Form I-765
PART 2, pg. 2, continued…
Other Information

8. F-1 students do not have an A-Number, leave this
blank.
                                                                                Leave blank
9. F-1 students do not have a USCIS Online Account
Number, leave this blank.
                                                                          Leave blank
10-11. The responses to these questions should be
straightforward. Please complete them accurately.                                        x


12.
                                                              x
Check “No” if you have never applied for an EAD.
Check “Yes” if you have previously applied for an
EAD. You will need to provide copies of your previous EADs.                                               x
                                                                              If yes, you will need to provide copy(s)
Note on 12: This question does not apply to previous on-                      of your previous EAD(s)
campus employment or CPT.




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 Complete the Form I-765                                                                  123456789
PART 2, pg. 2, continued…
                                                                                                            If no, skip to 18
#13.a.-17.b. Social Security Number (SSN)                                  If yes, complete 15-17.b
#13.a.
Check “Yes” if you have been issued an SSN and enter your SSN
with one letter in each box in #13.b.
Check “No” if you do not yet have an SSN

#14.
Check “Yes” if you want a new or replacement SSN card and
complete #15-17.b
Check “No” if you do not want a new or replacement SS card

                                                                                  FAMILY NAME

                                                                                  First Name
                 If yes, complete 13.b              If no, skip to14




                                                                                  FAMILY NAME

                                                                                  First Name

                                You should receive your Social Security card from SSA about 2 weeks after
                                receiving your approved EAD from USCIS.
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 Complete the Form I-765

 PART 2, pg. 2-3 continued…
 The responses to these questions are straightforward.
 Please complete them accurately.
                                                                     Australia
 #18 Countries of Citizenship, pg 2
 List all as applicable (use Part 6 of the I-765 if needed) or       N/A
 write “N/A” in 18.b. if you do not have multiple citizenships.


 #19-20 Place of Birth, pg 3
 List the name of the country as it was named when you were
 born, even if it’s name has changed
                                                                     Brisbane
 Make sure your Date of Birth is in the correct format of
 MONTH - DAY - YEAR. (01/31/1998 not 31/01/1998)                     Queensland


                                                                     Australia
                                                                                            01/31/1998




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 Complete the Form I-765
 PART 2, pg. 3 continued…
 Information About Your Last Arrival
 #21.a. I-94 Number
 Use your current I-94 number. This is at the number found
 on the electronic I-94 record or on the top left corner of the
 paper Form I-94 card (see example)




 #21.b-e. Passport Information
 Enter the information directly from your passport; use the
 information of the passport you last used to enter the U.S.                      21 2 3 4 56 7 8 9
 (this should match the country on your I-20)
 #21.c. Travel Document                                               YG000954R
 Write “N/A” here
                                                                     N/A

                                                                      Australia

                                                                                           11/01/2022



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 Complete the Form I-765
 PART 2, pg. 3 continued…
 #22 Date of Last Entry into the U.S.
 Your most recent entry date can be found on your passport
 admission stamp, electronic I-94 record, or paper I-94 card.

 #23 Place of Last Arrival into the U.S.
                                                                                                 12/19/2017
 Name of the Port of Entry city from your most recent entry. This
 information can be found on your passport admission stamp, travel             SFR
 history section of your electronic I-94 record, or paper I-94 card
 (usually as a code , i.e. “SFR” for San Francisco). If you drove across the
 border, write the name of the city where entered the U.S.
                                                                               F-1 Student
 #24 Immigration Status at Last Entry
 Status in which you entered the U.S. If you entered with an I-
 20 as a student, write “F-1 Student.”
 #25 Current Immigration Status                                                F-1 Student
 Current status should be “F-1 student.” If not, talk to a BIO
 advisor, and this status should be reflected in your current I-
 94.
                                                                                             0023104289
 #26 SEVIS ID
 Your SEVIS ID appears on the top left side of your I-20 and
 starts with N00…




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 Complete the Form I-765
 PART 2, pg. 3 continued…                                                               N/A

 #27 Eligibility Category                                                         N/A
 Use the code (c) (3) (B) for post-completion OPT.
                                                                                  N/A




                                                                                         N/A



                                                                                                  Leave blank


                                             C       3   B

 #28-31.b Other Eligibility Categories
 Write “N/A” in these fields. N/A means not applicable. These questions
 are NOT applicable to applying for your 12-month Post Completion OPT.
 #28 is for STEM OPT applicants only.                                                     N/A


                                                                                                  Leave blank




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 Complete the Form I-765
 PART 3. Applicant’s Statement, pg. 4
 #1.a. Select 1.a. to indicate that you have read and understood
 the questions.
 #2 Write “N/A”                                                       X
 #3-6 Provide your information as requested


                                                                          Leave blank

                                                                           Leave blank



                                                                      1234567890

                                                                       1234567890

                                                                       oskibear067@gmail.com




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 Complete the Form I-765
 PART 3, pg. 4 continued…
 Applicant’s Declaration and Certification
 Read the entire declaration carefully.
 Applicant’s Signature
 #7.a.-7.b. Hand sign your name and provide the date of the
 signature
 Important!
 Your signature will be scanned and must fit within the box. It          Your signature here (don’t touch the lines)
 must NOT touch the box outline. If the signature is too big and
                                                                                                              MM/DD/YYYY
 crosses a line, your application could be delayed. Be
 conservative and use a signature smaller than normal. Please
 see the example.

 Troubleshooting Signature Line:
 In some cases the “Don’t forget to sign!” automatic reminder will not disappear when you print the form.

 You should remove the auto filled “Don’t forget to sign!” We recommend trying:
 •To open the form in the most recent version of Adobe Reader.
 •To print a blank version of the form’s second page from your web browser.




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 Complete the Form I-765
  PARTS 4 and 5, pgs. 4-6
  These sections are not applicable to you, since you’ve completed the form yourself, so write “N/A.” This section
  is for those who use an interpreter or other paid preparer to complete the form


                                                               Part 4 pg. 5                     Part 5 pg. 5

               Part 4 pg. 4                        N/A

                                                                        N/A

                                                                        N/A

                                                                        N/A


                                                                              N/A
         N/A
                                             N/A
         N/A
         N/A

                                                         N/A
                                                                        N/A

                                                                        N/A

                                                                        N/A



                                                                N/A
                                                                                          N/A
                                                                                                               N/A




                                                                                                                     33
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 Complete the Form I-765
Page 7, Part 6 needs to be completed ONLY if :
• you have previously had other SEVIS IDs
• you have ever been authorized for CPT or OPT
If neither of these apply to you, leave Part 6 blank and you are
done with the I-765…skip to the next slide.
                                                                                 FAMILY NAME
PART 6, Additional Information, pg. 7
                                                                                 First Name
#1.a.-1.c. Provide your name again as listed in Part 2, 1.a-1.c.
                                                                                  N/A
#2. Leave blank
#3.a-3.c. Reference Pg. 3, Part 2, Item 27
#3d. List all previously used SEVIS numbers – including from all     3                  2                   27
previous F-1 programs in the U.S including high school, short       Previous SEVIS IDs: N0048798787, N0009898989,
stays, community colleges, or previous I-20s at UCB.                N0012345679 (these are examples only)
#3.d. If you have had previous CPT and/or OPT, write “see
attached documentation for previous CPT and/or OPT                  See attached documentation for previous CPT and
authorizations” and include copies of all previous CPT and OPT I-   OPT authorizations.
20s and EAD cards with your application.
    You may need to contact your previous schools if you are
               missing any of this information.




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 Complete the Form I-765
                    IF YOU COMPLETED any part of PAGE 7, PART 6

                    You must add your signature and the date to Page
                    7.

                    Simply sign and date in the blank space at the
                    bottom of page 7




                                                           Oski Bear          August 1, 2018




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 Complete the Form I-765



                                          You are done with the I-765!
            Review all the information on the form for accuracy. You must submit ALL 7 pages of the I-765.
     Make a copy of your completed I-765 application to keep for your records, in case there is a problem with the
                                                    application.
                      Next, gather the required documentation and copies …see following slides




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 Gather the required documentation
 Photocopy of UCB OPT I-20 (all pages):

   • Must be received by USCIS within 30 days of
     being issued by BIO (see number 10 on I-20).
   • Original must be signed by the student at the
     bottom of page 1.
   • The requested OPT start and end dates will
     appear on page 2.
   • Do not mail the original I-20.




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Gather the required documentation

 Photocopy of Passport and Visa:

   • Photocopy the passport biographic page
     (with photo and passport expiration date);
     passport must be valid.
   • Photocopy the F-1 visa, if applicable; visa
     does not need to be valid.




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Gather the required documentation.

 Photocopy of I-94 Information:

 The I-94 can be either:
 •An electronic I-94 record. Visit:
 www.cbp.gov/i94 to access
 and print your record.
 OR
 •a paper I-94 card stapled into your
 passport. Include a copy of both sides,                                         Electronic I-94 Record
 even though the back side may be blank.




                                                            Paper I-94 (front)                            Paper I-94 (back)




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Gather the required documentation
 Photocopy of all previous OPT and CPT
 I-20s:                                                              Old
                                                                     Version
  • Please include copies of all previous CPT and OPT
    I-20s at UCB and previous schools
  • Old and new versions of the I-20 are acceptable.
  • Copy all 3 pages.
  • Keep the originals for your records.                                             New
  • Copies of original I-20s are best, but you may                                   Version
    need to request copies of any lost CPT/OPT I-20s.
       – UCB I-20s : request these from BIO when you turn
         in your OPT Request Form.
       – Previous School I-20s: contact them directly

  • If you have never used CPT or OPT in the past,
    you do not need to include previous I-20s.




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Gather the required documentation

 Photocopy of Previous EAD(s), if applicable:

     If an EAD was received in the past, include
      a copy of the front and back of the card.
     Can be from OPT approved at a prior
      institution or different education level.
     Include previous OPT I-20s and I-797c
      notice of approval as well if available.




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Gather the required documentation

Form G-1145
•    Attach to the top of theThis is an optional form. Use this
     form to request text and email notification(s) regarding
     your application. Download the form at
     http://www.uscis.gov/files/form/g-1145.pdf
•     OPT application packet.

                           WARNING!
              USCIS will rarely contact you by phone
           regarding the status of your OPT application.

    If you receive a phone call from a person claiming to work for
    USCIS or any other government agency, do not provide your
    personal information to them. Note the person’s name and phone
    number and contact a BIO advisor before responding.




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 Mailing the OPT Application from California
                                          USCIS Mailing Addresses
                                          for people who live in California*

  FedEx, UPS, & Other Express Carrier Mail:                                    U.S. Postal Service Mail

  USCIS                                                                        USCIS
  Attn: AOS                                                                    PO Box 21281
  1820 E. Skyharbor, Circle S                                                  Phoenix, AZ 85036
  Suite 100
  Phoenix, AZ 8
              85034



  BIO recommends FedEx as a reliable option.                                If using USPS, choose Express or Priority
  If using FedEx or UPS, use the above address.                             Mail option and use the above address.

                                         * If your address on the I-765 is NOT in California, see the next slide for
                                         mailing information.




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 Mailing From Outside California

    If living in…                                                     Mail your application to…
   Alabama, Arkansas, Connecticut, Delaware, District of              U.S. Postal Service    Express Deliveries
   Columbia, Florida, Georgia, Kentucky, Louisiana, Maine,
                                                                      USCIS                  USCIS
   Maryland, Massachusetts, Mississippi, New Hampshire, New
   Jersey, New Mexico, New York, North Carolina, Pennsylvania,        PO Box 660867          Attn: AOS
   Puerto Rico, Rhode Island, South Carolina, Oklahoma,               Dallas, TX 75266       2501 S. State Hwy 121 Business
   Tennessee, Texas, Vermont, Virginia, U.S. Virgin Islands, or                              Suite 400
   West Virginia                                                                             Lewisville, TX 75067



   Alaska, Arizona, California, Colorado, Hawaii, Idaho, Illinois,   U.S. Postal Service    Express Deliveries
   Indiana, Iowa, Kansas, Michigan, Minnesota, Missouri,
                                                                     USCIS                  USCIS
   Montana, Nebraska, Nevada, North Dakota, Ohio, Oregon,
   South Dakota, Utah, Washington, Wisconsin, Wyoming, Guam,         PO Box 21281           Attn: AOS
   or the Commonwealth of Northern Mariana Islands.                  Phoenix, AZ 85036      1820 E Skyharbor Circle S
                                                                                            Suite 100
                                                                                            Phoenix, AZ 85034




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 The Application Deadline
 •    USCIS must receive your complete OPT
      application no later than 30 days after the OPT
      I-20 has been issued.
 •    The issue date is located next to the advisor䇻s
      signature on page 1 of the OPT I-20. Please
      account for mailing time.
 •    Additionally, USCIS must receive your
      application before the end of your 60 day grace
      period.

     Your application must be submitted to USCIS from within the U.S. If
     you exit the U.S. after your program completion date without applying
     for OPT, you cannot return and will lose your option for OPT.




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Step 3:
Receive the Employment
Authorization Document (EAD)




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Step 3: Receive the Employment  Authorization Document (EAD)                    Berkeley International Office
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 I-797 Notice of Action
 You should receive the notice by mail within 2-4 weeks after mailing thee
 OPT application to USCIS.

 The I-797 is very important.
 If you lose the receipt, it may be very difficult to replace
                                                        p
                                                        place
 it.
 The I-797 is necessary if you want to:
  1) inquire about the status of your OPT application.
                                                    n.
                                                    g.
  2) travel outside the U.S when your OPT is pending.

 Receipt Number
 The case number for the OPT application at USCIS. Check the
 status of the case on the USCIS web site at https://www.uscis.gov
 Received Date
 Date when USCIS begins processing the application. (It may not be the
                                                                        d
 actual the application was received, but it is when the case was entered
 into the system.)
 Address Information
 Verify your name, date of birth, and address on the I-765 receipt notice.
                                                                        e.
 If incorrect, contact BIO immediately.
 Contacting USCIS
 If you have any problems or questions with the OPT application,
 contact a BIO advisor before calling the USCIS Customer Service.




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 Step 3: Receive the Employment  Authorization Document (EAD)                    Berkeley International Office
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USCIS Issues & Tracking
Your Case
Case Status Updates
BIO strongly recommends that you sign up for an
account at https://www.uscis.gov. This can allow you to
receive automatic updates and monitor your case. Click
“Check Your Case Status” and then select “Sign Up”.
General Case Tracking:
If you don’t sign up for an account, you can still track
your case using the “Check Your Case Status” Tool
Address Changes:
If your address changes, you can update it online
through the “Change of Address” tool. Keep in mind that
address changes can take 10 business days to process,
and could jeopardize your OPT EAD delivery. We
recommend keeping the same address for your entire
OPT processing, if possible.
Case Inquiries:
You can submit inquiries about your case using the Case
Inquiry tool, if your don’t receive your receipt or other
notifications, or if your EAD has been pending for more
than 75 days.




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Application Problems- RFE or
Rejection/Denial
RFE- If there is a problem with your application, the USCIS may
send you a notice by mail called a “Request for Evidence (RFE).”
An RFE does not mean that your application has been rejected. It
simply means that you need to send in additional documents
before your EAD can be issued.
•   Getting an RFE will delay the processing of your application
Rejection/Denial- In some cases, if too many items are missing
from your application, the USCIS will return the entire application
to you. If this happens, you must make the corrections and send
the application before the end date of your 60-day grace period.

Contact BIO                       To avoid delays, review your
IMMEDIATELY if you                application materials for
receive am RFE,                   completeness and sign all the
                                  forms before mailing them to
rejection, or denial.
                                  the USCIS.
Step 3: Receive the Employment  Authorization Document (EAD)                    Berkeley International Office
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  The Employment Authorization Document (EAD)

  • Review card to make sure the information
    is accurate. If not, contact a BIO advisor.
  • Present your EAD to employers as
    proof of your legal work authorization in the US.
  • The EAD is a required document for entry to the
    US during OPT (refer to slide 38).
  • Upload a copy of your EAD card at
    io.berkeley.edu/ssu




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Your Responsibilities during OPT
 1.   Reporting Requirements
 2.   Employment Requirements
 3.   Travel Documents for Re-entry
 4.   Applying for an F-1 Visa on OPT




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Reporting Requirements-
BIO SSU HUB MANDATORY
  •   ALL STUDENTS ON OPT/STEM ARE REQUIRED
      TO USE THE BIO SSU HUB TO SUBMIT OPT
      UPDATES. BIO SSU Hub is a is a Berkeley
      International Office system.
  •   Submit updates online at io.berkeley.edu/ssu
SEVP Portal- OPTIONAL
  •   The Student Exchange Visitor Program (SEVP) has its own “SEVP Portal” for students on
      OPT/STEM. On Day 1 of your Approved OPT, you will receive an email from SEVP with
      instructions on how to create an account. This email will come from do-not-
      reply.sevp@ice.dhs.gov

  •   Be aware of scams- SEVP will NEVER ask you for a payment to register to register for the
      optional SEVP Portal.

  •   Registration for SEVP Portal is OPTIONAL. BIO WILL NOT USE the SEVP Portal for OPT
      reporting purposes. We recommend that you use the SEVP Portal as view only and
      continue to use SSU Hub to update your information.




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2.        Employment Requirements
•    You must work a minimum of 20 hours per week in a position related to your
                                                                            ou
                                                                             ur field
                                                                                fie of
     study. For more information, visit “Qualifying OPT Employment.”
•    You cannot exceed more than 90 days of unemployment while on OPT. Days of
     unemployment prior to your EAD start date do not count towards the 90 days. It is your
     responsibility to keep records of your employment and any periods of unemployment.
•    For more information see: OPT Unemployment Allowances




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3. Travel Documents for Re-entry
Documents                                           Before Completing           After Completing          After Completing
                                                    Program & Before EAD        Program & Before EAD      Program &
                                                    issuance                    issuance                  After EAD issuance
Valid passport                                                 9                          9                         9
Valid F-1 visa stamp (if applicable)                           9                          9                         9
OPT I-20 with a valid travel endorsement signed
within 6 months by a BIO Advisor (page 2)
                                                               9                          9                         9
Evidence of continued enrollment (e.g. Enrollment
Verification from CalCentral)
                                                               9
Evidence of financial support                         Strongly recommended       Strongly recommended      Strongly recommended

OPT receipt: I-797 Notice of Action                                                       9
Job offer letter from employer                                                   Strongly recommended
                                                                                                                    9
EAD (Employment Authorization Document)                                                                             9

                                          Your admission to the US is always at the discretion of the Customs and Border Protection
                                                Officers. To avoid problems, you must have the required documents outlined above.




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Important Information on Travel
• Avoid long absences from the US during the OPT period. Time spent outside of the US
  while unemployed by a US employer counts toward your 90 days of unemployment.
• Attempting to re-enter the U.S. close to the expiration date of your OPT can be risky.
• You must not enter the U.S. in a status other than F-1. This may result in the loss of your
  OPT eligibility.
Travel after Program Completion, But Before OPT Card is received
• There is a higher risk associated with travel and return while your OPT is pending after
  the program completion date. If there are any problems with your application, you may
  not be able to respond to USCIS in a timely manner, which could delay processing of your
  EAD.
• If your OPT application is denied while outside the US, you will not be able to re-enter
  the US in F-1 status and will not be able to reapply.




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4. Applying for an F-1 Visa on OPT
If you are traveling abroad and your F-1 visa has expired, you must obtain a new F-1 visa before
returning to the U.S. When going to your visa interview, bring the documents below. For more
information, visit: http://internationaloffice.berkeley.edu/visa_application

1.Valid passport
2.Valid I-20 with travel endorsement from a Berkeley International Office
advisor within the past 6 months
3.EAD Card
4.Job offer in field of study
5.Evidence of sufficient funds (e.g. a bank statement, a letter from a
sponsor or a job offer letter)


Check the U.S. Department of State web site for more information about getting a visa and specific
requirements at the local embassy or consulate at www.travel.state.gov




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More Information
Consult the Berkeley International Office website for detailed information related to:

Frequently Asked Questions (FAQs)
Address and Employer Reporting System
Types of Qualifying Employment
90-Day Unemployment Rule
Beginning a New Program of Study
Taking Classes While on OPT
Traveling Outside the U.S.
Early Completion of OPT
OPT STEM Extension
Cap-Gap Extension




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Final check of your OPT application
Want to review all your documents in detail before mailing them to USCIS?




    See our online video
  OPT Application Checklist




                                 Still have questions?
            Come see a BIO Advisor in person at Berkeley International Office.




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                    Office Hours

internationaloffice@berkeley.edu

                  510-642-2818




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                                                                           Office - Your I-20 isPage
                                                                                                Expiring172
                                                                                                        Soon of 189



                                                                                  Henrique Faria <henriquef@berkeley.edu>



  Berkeley International Office - Your I-20 is Expiring Soon
  io_donotreply@berkeley.edu <io_donotreply@berkeley.edu>                                          Mon, Apr 9, 2018 at 4:00 PM
  To: henriquef@berkeley.edu

    **This is an automated reminder sent to all students whose I-20 Program End Date is within the next 30 days. This
    email contains important information that applies to you.

    Dear Student,

    Your I-20 Program End Date is approaching (see section Program of Study on your I-20). The end date on your
    document determines how long you are allowed to remain in the U.S. as an enrolled student.

    Your current Program End Date is in 30 days. Please read the section below that best applies to you.
    =============================================================================

    CONTINUING STUDENTS:
    If you will be continuing your studies at UC Berkeley after your program end date, you must request an extension
    from Berkeley International Office BEFORE the end date on your current I-20. To allow processing time, we strongly
    recommend students submit their extension requests no later than 2 weeks before your end date. For instructions,
    see: http://internationaloffice.berkeley.edu/students/current/extension
    =============================================================================

    GRADUATING STUDENTS:
    If you will be COMPLETING your degree requirements at UC Berkeley, CONGRATULATIONS! We at Berkeley
    International Office are very happy that you have been a part of the UC Berkeley community and proud of your
    accomplishment. We wish you the very best in your future.

    OPTIONS AFTER COMPLETING YOUR DEGREE are as follows:
    Note: You must take one of these actions within 60 days (grace period) after your completion date*
    *Completion date = end date on your I-20, or for graduate students date of filing thesis/dissertation -- whichever is
    EARLIER.

    1. Depart the U.S. (one-time only)
    2. Request a SEVIS Transfer to another U.S. school
    3. Apply for Optional Practical Training (OPT). See instructions for applying for OPT here: http://internationaloffice.
    berkeley.edu/students/training/f-1/opt

    Notes about OPT:
    - If you depart the US after your program end date and have NOT applied for OPT, you are no longer eligible for
    OPT.
    - Apply now! OPT applications can take 3-4 months to be processed.
    =============================================================================

    If you have already applied for OPT: No further action from you is needed.

    If you have any questions or concerns please do not hesitate to email, call or visit us. Contact info:
    https://internationaloffice.berkeley.edu/contact-us


    Best regards,

    Berkeley International Office
    University of California at Berkeley
    2299 Piedmont Avenue
    Berkeley, CA 94720-2321
    internationaloffice.berkeley.edu
    internationaloffice@berkeley.edu




https://mail.google.com/mail/u/1?ik=88e636b110&view=pt&search=all&permmsgid=msg-f%3A1597281150622558582&simpl=msg-f%3A1597281…   1/1
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         Case 4:19-cv-08388-DMR Document 1-1 Filed 12/23/19 Page 180 of 189




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   Case 4:19-cv-08388-DMR Document 1-1 Filed 12/23/19 Page 181 of 189



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        EXW,GRQ WWKLQNLWLVFDXVHIRUDODUP:KHQ\RXILOOHGRXW\RXU)RUP,KRZGLG\RXHQWHU\RXU
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                                                                                    Henrique Faria <henriquef@berkeley.edu>



  EY and Expenses
  Ivor EMMANUEL <ivor@berkeley.edu>                                                                   Sat, Sep 8, 2018 at 6:36 PM
  To: Henrique Faria <henriquef@berkeley.edu>

    I understand your situation Henrique. Unfortunately, we do not have the resources to support you any further. I am
    sorry that I am unable to assist you financially. I advise you to look at options that are least costly to you including
    going home and waiting for any further decisions.

    Best,

    Ivor

    Sent from my iPhone

    On Sep 7, 2018, at 5:01 PM, Henrique Faria <henriquef@berkeley.edu> wrote:


             Dear Ivor,

             Please find attached how the owner of my apartment will proceed. They will kept my 3 months deposit
             (3 x 2,900usd) and I need to leave the apartment now. I just lost 8,700.00usd. I borrowed this money
             from friends and also from a student loan. I must start to pay my student loan this November and my
             friends were expecting to receive the money with my September salary.

             I appreciate your 3kusd. But be aware that that amount was a reimbursement of the costs and not a
             help of my living cost. A living cost that I only will be not be able to afford because of Berkeley's error as
             written on the USCIS. The decision is crystal clear to show the 30 days deadline reason as the motive
             of the denial. Your office must be more helpful to me than just wishing me to consider other less
             expensive options. Of course that I'm considering it already but I have debts to pay and I have no idea
             of how to pay for these less expensive options. That's why I'm asking for your help and I think you
             should talk to your legal team to figure out a way to help me because I am in a necessity here. As you
             told me that Berkeley's error in my case was a 1 in 1M, my situation is also 1 in 1M and you legal team
             should extend your budget of expenses to more that your regular issues. My case was not a regular
             issue. It is an unique one and I deserve an unique treatment. Im not joking. I'm the weak part here and
             you have the means to help me. I dont have the money to buy a ticket to Brazil. I already took 2
             students loans to pay the tuition and moving expenses to NY and also money from friends. I dont have
             anyone else to ask.

             Please reply me asap. I just have you helping me here. The law school is totally absent (not talking
             about Professor Mark Gergen who is a Lord) and you travelling will let me talking with nobody else.

             Thank you for your support.

             Regards,

             Henrique.

             On Fri, Sep 7, 2018, 6:51 PM Ivor EMMANUEL <ivor@berkeley.edu> wrote:
              Hi Henrique:

               Thanks for the update.

               As you know, we already submitted a request to USCIS to expedite the Motion to Reopen. There is
               nothing more we can do with them other than to wait for their action/decision. I am leaving the
               country tomorrow and will be gone for a week. When I return I will follow-up with Senator Feinstein's
               Office. In the interim, I have forwarded your update to my contact at EY.

               With regard to financial assistance, as you know, as a gesture to you we have already provided you
               with over $3,000 of financial support between your roundtrip tickets, hotel expenses and USCIS fees.
               I am afraid to tell you that that is the maximum limit by which I can provide you with financial
               assistance. You may wish to consider other less expensive options for the period that you are waiting
               for the decision.

https://mail.google.com/mail/u/1?ik=88e636b110&view=pt&search=all&permmsgid=msg-f%3A1611061758912170426&dsqt=1&simpl=msg-f%3A…   1/3
02/06/2019      Case 4:19-cv-08388-DMR Document   1-1MailFiled
                                          UC Berkeley           12/23/19
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             I realize that this is a difficult time for you and wish you the best as you make your next decision.

             Best,

             Ivor



             On Fri, Sep 7, 2018 at 11:44 AM Henrique Faria <henriquef@berkeley.edu> wrote:
              Hi Ivor,

                I hope this e-mail finds you well.

                Please find attached the screenshot of EY's final position on my case.

                They will rescind my offer after December 1st. Thus, the only chance is if we could expedite the
                judgment of the motion. Could you please try to reach the Senator's office or the Immigration
                Department. I think that you or Berkely Law have more knowledge, power and resources to contact
                them than a single student. I appreciate your effort.

                Lastly, I would like to know if you could provide me some kind of financial support during this time,
                until the said deadline (December, 1st) since I can't start any new job while still waiting this chance
                gave by EY. First because it's not fair with a new employer. It would be immoral to start and then
                leave the job to go to EY and second because my first and only goal now is to work for EY. Again, I
                dont have any other income other than my salary and I have to pay my rent expenses and living
                cost. Please double check with your legal if they can allow you to provide me a financial support.
                I'm begging and I'm desperate.

                Best regards,

                Henrique
                5105424638




                On Wed, Sep 5, 2018, 7:45 PM Ivor EMMANUEL <ivor@berkeley.edu> wrote:
                 Hi Henrique:

                    Thanks for the update. I let Dan know where things stand. Let's see if he can assist.

                    Best,

                    Ivor

                    On Wed, Sep 5, 2018 at 3:12 PM Henrique Faria <henriquef@berkeley.edu> wrote:
                     Hi Ivor,

                      Nancy from EY just called me. She asked me about the chances to get the OPT after the
                      motion. I told her the truth: it could take 6 months and the immigration lawyers that Berkeley
                      consulted told us the chances are very low. She told me that it's almost impossible to transfer
                      me to another jurisdiction since I must be there (in the other jurisdiction) for at least 1 year or
                      18 months because it's not fair to them to just train me and just send back to NY. She told me
                      that she was also concerned because even if my motion is granted I would only have a few
                      months left to work on my OPT. She told me that she have never seen an OPT denial and she
                      doesn't know how to proceed. Finally, she told me that she doesn't know if EY will be able to
                      keep my position. She will see it with her leader and return to me.

                      I don't know what to do and I think they will cancel my offer. I'm also unable here to return my
                      furnitures because execeeded more than 15 days that I bought. I'm still waiting for the decision
                      of the owner of my apartment to see how can I cancel my leasing. Please help me.

                      Regards,

                      Henrique.

                      On Tue, Sep 4, 2018, 2:39 PM Ivor EMMANUEL <ivor@berkeley.edu> wrote:
                       Thanks!!

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                       Ivor

                       On Tue, Sep 4, 2018 at 11:32 AM Henrique Faria <henriquef@berkeley.edu> wrote:
                        Yes, Ivor. Please see the attached picture.

                         Regards,

                         Henrique

                         On Tue, Sep 4, 2018, 2:27 PM Ivor EMMANUEL <ivor@berkeley.edu> wrote:
                          According to Dan, Nancy's email states that she is returning to the office tomorrow. Are
                          you sure that your appointment was for today?

                              Ivor

                              On Tue, Sep 4, 2018 at 9:26 AM Henrique Faria <henriquef@berkeley.edu> wrote:
                               Hi Ivor,

                                My address: 260 W 52nd St, apartment 6L, New York, 10019

                                I came to NY last Saturday morning.

                                Thank you so much.

                                Regards,

                                Henrique

                                On Tue, Sep 4, 2018, 11:50 AM Ivor EMMANUEL <ivor@berkeley.edu> wrote:
                                 Hi Henrique:

                                     Thanks. When did you return to New York? I will submit the receipts now and try
                                     to get a check cut out asap. Please confirm your address. I will have someone
                                     Fed Ex it to you. Since it is a short week I am not sure we can have the check by
                                     Friday. In which case it will likely be next Monday. So you can expect it someone
                                     around mid-week next week.

                                     I will let Dan Black know that you did not have your appointment and let's see
                                     where things go from there.

                                     Best,

                                     Ivor

                                     On Tue, Sep 4, 2018 at 8:02 AM Henrique Faria <henriquef@berkeley.edu> wrote:
                                       Dear Ivor,
                                       I hope you have had a great holiday.
                                       I’m wri ng today because of 2 reasons:
                                       1: As you instructed me, please ﬁnd a ached the receipts of my
                                       expenses. If you agree, I also included the 4 airport’s uber/ly rides.
                                       Please tell me when BIO would be able to make the reimbursement
                                       since I’m having several money issues here in NY without EY’s salary.
                                       2: As I imagined and men oned to you, the HR (Nancy Harbison)
                                       responsible for my EY’s posi on did not call me today as we were
                                       scheduled. I don’t know what to do. I will probably lose the job.
                                       Best Regards,
                                       Henrique
             <Screenshot_20180907-194020_Gmail.jpg>



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